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                 Exhibit A
       Funding Opportunity Announcement:
               Residential Services
        for Unaccompanied Alien Children
         HHS-2014-ACF-ORR-ZU-0608
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                 Exhibit B
Federal Defendants’ Responses to Plaintiff’s First
 Set of Interrogatories and Accompanying Chart
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1    CHAD A. READLER
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9
10                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12
     AMERICAN CIVIL LIBERTIES UNION OF
13   NORTHERN CALIFORNIA,
                                                           Civil No. 3:16-cv-3539-LB
14                          Plaintiff,
                                                           DEFENDANTS’ OBJECTIONS AND
15          vs.                                            RESPONSES TO PLAINTIFF’S FIRST
                                                           SET OF INTERROGATORIES TO
16   THOMAS E. PRICE, M.D., Secretary of                   GOVERNMENT DEFENDANTS
     Health and Human Services, et al.,
17
                            Defendants.
18
19
20          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Rules 26 and 33
21   of the local rules of the United States District Court for the District of California San Francisco
22   Division, Defendants, Thomas E. Price, M.D., in his official capacity as Secretary of Health and
23   Human Services (“HHS”), Amanda Barlow, in her official capacity as Acting Assistant Secretary
24   of Administration for Children and Family Services (“ACF”), and E. Scott Lloyd, in his official
25   capacity as Director of Office of Refugee Resettlement (“ORR”) (hereafter, collectively
26   “Defendants”), hereby respond to Plaintiff’s First Set of Interrogatories to Government
27   Defendants, which were served electronically on counsel for Defendants on March 16, 2017.
28

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1                    OBJECTIONS AND RESPONSES TO INTERROGATORIES
2    INTERROGATORY NO. 1
3    Describe Defendants’ interpretation of the extent of their obligations, and their grantees’
4    obligations, under Flores v. Reno Settlement Agreement to provide UCs with access to family
5    planning information and services, including abortion.
6           OBJECTIONS: Defendants object to this interrogatory because it has two discrete
7    subparts: (a) “Defendants’ interpretation of the extent of their obligations . . . under Flores v.
8    Reno Settlement Agreement to provide UCs with access to family planning information and
9    services, including abortion,” and (b) “Defendants’ interpretation of the extent of . . . their
10   grantees’ obligations[] under Flores v. Reno Settlement Agreement to provide UCs with access
11   to family planning information and services, including abortion.” This interrogatory therefore
12   constitutes two interrogatories for purposes of the limit of 25 interrogatories. See Fed. R. Civ. P.
13   33(a)(1).
14          Both subparts of this interrogatory inquire into pure questions of law, which are entirely
15   independent of any factual allegations in this case, and as such they are objectionable in their
16   entirety and do not require a factual response. See Everest Nat’l Ins. Co. v. Santa Cruz Cty.
17   Bank, No. 15-cv-2085, 2016 WL 6311876, at *4-5 (N.D. Cal. Oct. 28, 2016); see also Kendrick
18   v. Sullivan, 125 F.R.D. 1, 3 (D.D.C. 1989).
19          RESPONSE: Subject to and without waiving these objections, under the Flores v. Reno
20   settlement agreement, except in the circumstances identified in paragraphs 12 or 21 of the
21   agreement, Defendants are required to place UCs in HHS custody in a “licensed program,”
22   which, per paragraph 6 of the agreement, is defined as meeting the standards set forth in Exhibit
23   1 to the agreement. Exhibit 1, in turn, states that a licensed program shall provide or arrange for
24   “[a]ppropriate . . . family planning” services for UC. The Flores v. Reno settlement agreement
25   did not define “[a]ppropriate . . . family planning services” to include abortion. The Flores v.
26   Reno settlement agreement does not discuss “family planning information.” The “grantees”
27   referenced in the interrogatory were not signatories to the Flores v. Reno settlement agreement.
28   INTERROGATORY NO. 2

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1    Describe Defendants’ interpretation of the extent of their obligations, and their grantees’
2    obligations, under regulations implementing the Prison Rape Elimination Act, to provide UCs
3    with access to family planning information and services, including abortion.
4           OBJECTIONS: Defendants object to this interrogatory because it has two discrete
5    subparts: (a) “Defendants’ interpretation of the extent of their obligations . . . under regulations
6    implementing the Prison Rape Elimination Act, to provide UCs with access to family planning
7    information and services, including abortion,” and (b) “Defendants’ interpretation of the extent
8    of . . . their grantees’ obligations[] under regulations implementing the Prison Rape Elimination
9    Act, to provide UCs with access to family planning information and services, including
10   abortion.” This interrogatory therefore constitutes two interrogatories for purposes of the limit of
11   25 interrogatories. See Fed. R. Civ. P. 33(a)(1).
12          Both subparts of this interrogatory inquire into pure questions of law, which are entirely
13   independent of any factual allegations in this case, and as such they are objectionable in their
14   entirety and do not require a factual response. See Everest Nat’l Ins. Co., 2016 WL 6311876, at
15   *4-5; see also Kendrick, 125 F.R.D. at 3.
16          RESPONSE: Subject to and without waiving these objections, the Prison Rape
17   Elimination Act (“PREA”) creates no obligation to provide UCs with access to family planning
18   information and services, including abortion. The Act directed HHS to publish a final rule
19   adopting “national standards for the detection, prevention, reduction, and punishment of rape and
20   sexual assault in facilities that maintain custody of [UC].” 42 U.S.C. § 15607(d)(1). In addition,
21   the Act directed HHS to give “due consideration” to national standards provided by a National
22   Prison Rape Elimination Commission established under 42 U.S.C. § 15606(e). Id.
23   § 15607(d)(4). Notably, the Act is directed at events that occur within a care provider, and the
24   regulations reflect that standard. See, e.g., 45 C.F.R. § 411.6 (defining sexual abuse to mean:
25   “(1) Sexual abuse of a UC by another UC; and (2) Sexual abuse of a UC by a staff member,
26   grantee, contractor, or volunteer”). Thus, the PREA regulations would not apply to any activities
27   (whether or not stemming from abuse) that resulted in pregnancy but that occurred prior to HHS
28   assuming custody of a UC. The PREA regulations do provide that when abuse of a UC while in

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1    the custody of a care provider occurs, there must be access to “emergency medical treatment,
2    crisis intervention services, emergency contraception, and sexually transmitted infections
3    prophylaxis, in accordance with professionally accepted standards of care, where appropriate
4    under medical or mental health professional standards.” 45 C.F.R. § 411.92(a). However, to
5    date, no circumstance has arisen where that regulatory provision has needed to be invoked in
6    order to provide a UC with access to emergency contraception. Similarly, the PREA regulations
7    state that
8            care provider facilities must ensure that female UC victims of sexual abuse by a
             male abuser while in ORR care and custody are offered pregnancy tests, as
9            necessary. If pregnancy results from an instance of sexual abuse, care provider
             facility must ensure that the victim receives timely and comprehensive
10           information about all lawful pregnancy-related medical services and timely access
             to all lawful pregnancy-related medical services. In order for UCs to make
11           informed decisions regarding medical services, including, as appropriate, medical
             services provided under § 411.92, care provider facilities should engage the UC in
12           discussions with family members or attorneys of record in accordance with
             § 411.55 to the extent practicable and follow appropriate State laws regarding the
13           age of consent for medical procedures.
14   45 C.F.R. § 411.93(d). This regulatory provision also has not been invoked to date for
15   pregnancy-related services for a UC, and the circumstances to which the provision applies—
16   sexual abuse of a UC while in the custody of a care provider—have not occurred in such a way
17   that the provision would be triggered. Finally, the preamble to the PREA regulations reiterates
18   the Administration for Children and Families’ faith-based policy, and states that
19           ORR is mindful that some potential and existing grantees and contractors may
             have religious or moral objections to providing certain kinds of services,
20           including referrals (for example, for emergency contraception). ORR is
             committed to providing resources and referrals for the full range of legally
21           permissible services to UCs who need them, helping to facilitate access to these
             options, and doing so in a timely fashion and in a manner that respects the diverse
22           religious and cultural backgrounds of UCs. At the same time, ORR is also
             committed to finding ways for organizations to partner with us, even if they object
23           to providing specific services on religious grounds.
24   79 Fed. Reg. 77,768, 77,784 (Dec. 24, 2014). The remainder of this portion of the preamble
25   explains how organizations might partner with ORR. See id. Grantees are not directly bound by
26   the Prison Rape Elimination Act. Grantees do have cooperative agreements with HHS and are
27   subject to regulations implemented to carry out PREA at 45 C.F.R. Part 411.
28

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1    INTERROGATORY NO. 3:
2    Describe the criteria Defendants have used to transfer UCs between grantees when a UC requests
3    abortion services.
4           OBJECTIONS: Defendants object to this interrogatory as overbroad and unduly
5    burdensome in that under the instructions, it seeks a response covering the time period from
6    January 1, 2009, until present; Defendants’ response is limited to the transfers between grantees
7    under the UC 2015 Funding Opportunity Announcement. Defendants also object to this
8    interrogatory as overbroad in that it is not limited to the question of transfers due to objections by
9    the transferring grantee; Defendants therefore limit their response to only that situation.
10          RESPONSE: Subject to and without waiving these objections, there are no published
11   criteria governing transfer of UCs when a UC requests abortion services, but, when a UC
12   requested abortion services, and where the religiously-affiliated grantee or subgrantee had
13   objections to such services, the federal field specialist, in conjunction with the central office,
14   effectuated the transfer of the UC. The UCs were transferred to a facility that did not have an
15   objection and that had available space.
16   INTERROGATORY NO. 4
17          Identify any criteria, policies, or procedures that govern placement decisions for UCs.
18          OBJECTIONS: Defendants object to this interrogatory as overbroad and unduly
19   burdensome in that under the instructions, it seeks a response covering the time period from
20   January 1, 2009, until present; Defendants’ response is limited to the transfers between grantees
21   under the UC 2015 Funding Opportunity Announcement. Defendants also object to this
22   interrogatory as vague and ambiguous with respect to the term “placement decisions” on the
23   grounds that the request is overly broad, overly burdensome, and vague in that Plaintiff fails to
24   specify the type of “placement decision”; Defendants do not interpret the phrase as having
25   meaning beyond the topics addressed in their current manuals, to which Defendants refer for
26   their response.
27          RESPONSE: Subject to and without waiving these objections, pursuant to Federal Rule
28   of Civil Procedure 33(d), Defendants refer Plaintiff to the attached current manuals, section 1 of

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1    Children Entering the United States Unaccompanied (hereafter “Policy Guide”), available on the
2    ORR website, and section 1 of the current Operations Guide.
3    INTERROGATORY NO. 5
4    Identify any criteria, policies, or procedures that govern transfers of UCs between grantees.
5           OBJECTIONS: Defendants object to this interrogatory as overbroad and unduly
6    burdensome in that under the instructions, it seeks a response covering the time period from
7    January 1, 2009, until present; Defendants’ response is limited to the transfers between grantees
8    under the UC 2015 Funding Opportunity Announcement. Defendants also object on the grounds
9    that the request is overly broad and vague in that it fails to specify the types of transfers or any
10   particulars about the UC that would prompt the transfer; Defendants’ response is limited to
11   transfers based on requests for abortion.
12          RESPONSE: Subject to and without waiving these objections, pursuant to Federal Rule
13   of Civil Procedure 33(d), Defendants refer Plaintiffs to the attached manuals, specified in the
14   Response to Interrogatory No. 5, as well as §§ 2.3.1, 2.3.2, 2.3.3, 3.2, 3.3.1, 3.3.2, 3.3.5, 3.3.14,
15   3.4.7, 3.4.8, 3.6.1, 3.6.2, 3.6.3, 4.6.3, 4.9.3, 4.10.2, and 5.5.1 of the attached Policy Guide, as
16   well as §§ 3.1.3 3.1.4, 3.2.2, 3.2.3, 3.2.4, and 3.2.5 of the attached Operations Guide.
17   INTERROGATORY NO. 6
18   Describe the reproductive health care needs of UCs, and identify any studies on which
19   Defendants rely to describe those needs.
20          OBJECTIONS: Defendants object to this interrogatory because it has two discrete
21   subparts: (a) a request to “[d]escribe the reproductive health care needs of UCs,” and (b) a
22   request to “identify any studies on which Defendants rely to describe those needs.” This
23   interrogatory therefore constitutes two interrogatories for purposes of the limit of 25
24   interrogatories. See Fed. R. Civ. P. 33(a)(1). Defendants further object to this interrogatory as
25   vague and ambiguous with respect to the undefined term “reproductive health care needs.”
26   Defendants further object to the term “studies” as being vague and ambiguous, in that it could
27   apply to internal agency studies, published scholarship, or private unpublished research.
28

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1            RESPONSE: Subject to and without waiving these objections, Defendants state that
2    different UCs have different health care needs and that the vast majority do not make requests for
3    abortion or contraception. Defendants do not rely on any studies to define “reproductive health
4    care needs.”
5    INTERROGATORY NO. 7
6    State whether Defendants have allowed any grantee in the UC program to refuse to allow UC
7    access to the HPV vaccine.
8            OBJECTIONS: Defendants object on the grounds that this interrogatory is vague and
9    ambiguous with respect to the term “grantee in the UC program”; Defendants interpret that
10   phrase to mean a direct grantee under the UC 2015 Funding Opportunity Announcement.
11           RESPONSE: Subject to and without waiving these objections, Defendants have not
12   allowed a direct grantee under the UC 2015 Funding Opportunity Announcement to refuse to
13   allow UCs access to the HPV vaccine.
14   INTERROGATORY NO. 8
15   Identify how much money Defendants awarded to USCCB, Youth for Tomorrow, His House,
16   Upbring, and any Catholic Charities to care for UCs for each year starting in 2014.
17           OBJECTIONS: Defendants object on the basis that the phrase “for each year starting in
18   2014” is vague and ambiguous as it could mean calendar year or fiscal year; Defendants interpret
19   the phrase to mean fiscal year, and for grantees providing residential services to UC. Based on
20   this objection, Defendants answer beginning in fiscal year 2015 for the UC program, which
21   began October 1, 2014.
22           RESPONSE: Subject to and without waiving said objections, Defendants provide
23   information for direct grantees under UC residential service programs, beginning in fiscal year
24   2015.
25
26
27
28

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1        Grantee                                FY 2015           FY 2016           FY 2017       Total
2        USCCB                                      5,796,773         9,150,773       7,717,451     22,664,997
3        Youth for Tomorrow                         9,204,256        15,420,111      11,428,449     36,052,816
4        His House                                  8,948,688         8,846,102      12,149,300     29,944,090
5        Upbring1                                   2,625,105         2,533,604                       5,158,709
6        Lutheran Social Services of the
7        South, Inc.                                                                 19,617,084     19,617,084
8        Catholic Guardian Services                 6,014,900         4,406,462       7,763,887     18,185,249
9        Catholic Charities of The
10       Archdiocese of Miami, Inc.                 4,420,203         6,271,302       5,296,886     15,988,391
11       Catholic Charities Houston-
12       Galveston                                  5,897,457         8,080,518       6,704,856     20,682,831
13       Total                                  $42,907,382        $54,708,872      $70,677,913   $168,294,167
14   INTERROGATORY NO. 9
15   Identify any statistics compiled or relied upon by Defendants about UCs who were transferred
16   because a grantee had a religious objection to their request for reproductive health care,
17   including abortion.
18               OBJECTIONS: Defendants object to this interrogatory as vague and ambiguous with
19   respect to the undefined term “reproductive health care.”
20               RESPONSE: Subject to this objection and without waiving this objection, in response to
21   this litigation, Defendants have compiled the attached table.
22   INTERROGATORY NO. 10
23   Identify any statistics compiled or relied upon by Defendants about UCs who requested, but were
24   ultimately unable to receive, reproductive health care, including abortion.
25               OBJECTIONS: Defendants object to this interrogatory as vague and ambiguous with
26   respect to the undefined term “reproductive health care.”
27
28   1
         Upbring changed its name to Lutheran Social Services South Inc. in 2017.

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1           RESPONSE: Subject to this objection and without waiving this objection, Defendants
2    refer to the table provided in response to Interrogatory No. 9.
3    INTERROGATORY NO. 11
4    Describe the reproductive health care needs of trafficking victims, and identify any studies on
5    which Defendants rely to describe those needs.
6           OBJECTIONS: Defendants object to this interrogatory because it has two discrete
7    subparts: (a) a request to “[d]escribe the reproductive health care needs of human trafficking
8    victims,” and (b) a request to “identify any studies on which Defendants rely to describe those
9    needs.” This interrogatory therefore constitutes two interrogatories for purposes of the limit of
10   25 interrogatories. See Fed. R. Civ. P. 33(a)(1). Defendants further object to this interrogatory
11   as vague and ambiguous with respect to the undefined term “reproductive health care needs.”
12   Defendants further object to the term “studies” as being vague and ambiguous, in that it could
13   apply to internal agency studies, published scholarship, or private unpublished research.
14   Defendants also object to the term “human trafficking victims” as vague, ambiguous, and
15   potentially overbroad and unduly burdensome; Defendants construe that phrase to mean foreign
16   victims of human trafficking who could be served by HHS’s Trafficking Victim Assistance
17   Program (“TVAP”).
18          RESPONSE: Subject to and without waiving these objections, Defendants state that
19   each foreign victim of trafficking has different health care needs. Defendants do not rely on any
20   studies to describe “reproductive health care needs.”
21   INTERROGATORY NO. 12
22   Identify any statistics about human trafficking victims who requested access to, but were
23   ultimately unable to receive, reproductive health care, including abortion.
24          OBJECTIONS: Defendants object to this interrogatory as vague and ambiguous with
25   respect to the undefined term “reproductive health care.”
26          RESPONSE: Subject to and without waiving these objections, Defendants are not aware
27   of any victims of trafficking under the TVAP who requested, but ultimately did not receive
28   reproductive health care, including abortion. Defendants do not maintain statistics on this issue.

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1
2    INTERROGATORY NO. 13
3    Describe Defendants’ reason(s) for allowing USCCB to only select subgrantees/subrecipients for
4    the trafficking grant that share USCCB’s religious opposition to reproductive health care and
5    marriage for same-sex couples.
6           OBJECTIONS: Defendants object to this interrogatory as vague and ambiguous with
7    respect to the undefined term “reproductive health care.” Defendants object to the phrase “for
8    the trafficking grant” as vague and ambiguous; Defendants interpret that phrase to mean grants
9    provided under TVAP. Defendants further object because the word “allowing” is misleading to
10   the extent that it implies that Defendants in practice maintain considerable involvement in each
11   selection of “subgrantees/subrecipients” for the TVAP, and to the extent it implies that USCCB’s
12   application referenced same-sex marriage vis-à-vis subgrantees/subrecipients.
13          RESPONSE: Subject to and without waiving these objections, in identifying grantees
14   for the 2015 TVAP Funding Opportunity Announcement, Defendants sought to provide benefits
15   and services to foreign victims of a severe form of trafficking in persons, potential victims, and
16   all other eligible individuals under the Funding Opportunity Announcement. USCCB scored
17   highly in the grant review process, was determined to comply with the Funding Opportunity
18   Announcement, and was awarded a grant.
19   INTERROGATORY NO. 14
20   Identify how much money was awarded to USCCB to care for trafficking victims starting each
21   year in 2015.
22          OBJECTIONS: Defendants object on the basis that this interrogatory is vague and
23   ambiguous in that it fails to identify the source of the “money that was awarded”; Defendants
24   interpret this phrase as meaning funds awarded under a grant for the TVAP. Defendants further
25   object to the phrase “starting each year in 2015” as unintelligible, as it is not clear what it means
26   for a year to start “in 2015”; Defendants also object that the phrase “each year” is vague and
27   ambiguous as it could mean calendar year or fiscal year; Defendants interpret this interrogatory
28

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1    as seeking an identification of funds awarded under a TVAP grant to USCCB from fiscal year
2    2015, which began October 1, 2014, until present.
3           RESPONSE: Subject to and without waiving these objections, USCCB received TVAP
4    grant awards in the amount of $2,099,855 in Fiscal Year (“FY”) 2015 and $2,099,855 in FY16.
5    The FY16 award included a $450,000 offset from FY15 and $1,649,855 from the FY16 budget.
6    INTERROGATORY NO. 15
7    Identify the amount of Trafficking Victims Assistance Program funds received by each
8    participating recipient or sub-recipient in Delaware, Washington, D.C., Maryland, Pennsylvania,
9    Virginia, West Virginia, Arkansas, Louisiana, New Mexico, Oklahoma, and Texas.
10          OBJECTIONS: Defendants object on the grounds that the request is vague and
11   ambiguous with respect to the phrase “participating recipient or sub-recipient”; Defendants
12   interpret that phrase as referring to grantees and subawardees, but not foreign victims of human
13   trafficking served by the TVAP.
14          RESPONSE: Subject to and without waiving these objections, Defendants state in
15   response to this interrogatory that the Office of Trafficking in Persons (“OTIP”) does not collect
16   or maintain funding information at the subawardee level, as subawardees do not receive funding
17   directly from OTIP. At the grantee level, OTIP provides TVAP grant award amounts for
18   USCCB (located in Washington, D.C.) and the U.S. Committee for Refugees and Immigrants
19   (“USCRI”) (located in Virginia): the total TVAP grant award for USCCB is noted above in
20   response to Interrogatory 14; the total FY15 grant award to USCRI was $4,399,578 and total
21   FY16 grant award to USCRI is $3,810,000.
22   INTERROGATORY NO. 16
23   Describe the process by which Defendants decide how much funding to award each participant
24   in the Trafficking Victims Assistance Program.
25          OBJECTIONS: Defendants object on the grounds that the request is vague and
26   ambiguous with respect to the phrase “each participant in the Trafficking Victims Assistance
27   Program”; Defendants interpret that phrase as referring to direct grantees receiving funding
28   under the 2015 TVAP Funding Opportunity Announcement, but not subawardees or foreign

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1    victims of human trafficking served by the TVAP. Defendants also object that the phrase “the
2    process” is vague and ambiguous, and potentially unduly burdensome if it is construed to request
3    a description of the entire grant cycle.
4           RESPONSE: Subject to and without waiving these objections, Defendants state that in
5    determination of funding awards to each direct grantee, they considered the grant application,
6    including the proposed regional coverage, the number of certified victims in the State, and
7    geographical coverage proposed and awarded. To add an additional layer of specificity,
8    Defendants state that projections were made for the first year of the award, and the three grantees
9    ultimately selected were funded consistent with those projections, with the knowledge that
10   adjustments to funding amounts could be made for subsequent years in the project period.
11
     May 4, 2017                                  As to objections,
12
                                                  CHAD A. READLER
13                                                Acting Assistant Attorney General
14
                                                  SHEILA M. LIEBER
15                                                Deputy Director

16                                                /s/ Peter J. Phipps
                                                  PETER J. PHIPPS
17
                                                  ADAM GROGG (N.Y. Bar)
18                                                Civil Division, Federal Programs Branch
                                                  United States Department of Justice
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1                                    CERTIFICATE OF SERVICE
2           I hereby certify that I served Defendants’ Objections and Responses to Plaintiff’s First
3    Set of Interrogatories to plaintiff’s counsel at bamiri@aclu.org and to counsel for USCCB at
4    rdunn@gibsondunn.com.
5
     May 4, 2017                                         /s/ Peter J. Phipps
6                                                        Peter J. Phipps
                                                         Counsel for Defendants
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                                              Page 15 of 15
Program            Location      Total        Type of       For each          Whether the      Amount of
                                 number of Service          request,          UC was           time it took
                                 requests for Requested     identify the      referred or      to provide
                                 abortion/con               type of service   transferred to   the services
                                 traception-                provided          another care
                                 related svcs                                 provider to
                                 FY 14-16                                     provide the
                                                                              service
Cardinal          Bronx, NY           0      N/A            N/A               N/A              N/A
McCloskey
Catholic Guardian New York,           0      N/A            N/A               N/A              N/A
Services          NY

CC Boystown        Miami, FL          1      Abortion       Abortion          Yes              Procedure
                                                                                               requested
                                                                                               9/17/14;
                                                                                               procedure
                                                                                               performed
                                                                                               10/14/14
CC Houston         Houston, TX        0      N/A            N/A               N/A              N/A
(Autrey & Smith)
His House          Miami, FL          0      N/A            N/A               N/A              N/A
Seton Home         San                0      N/A            N/A               N/A              N/A
                   Antonio, TX

St. Peter & Joseph San                1      IUD Removal     IUD Removal due No                Within 2
Children's Home Antonio, TX                  due to pain and to pain and                       weeks (due to
                                             discomfort      discomfort                        ob-gyn
                                                                                               scheduling
                                                                                               availability)
USCCB*             Nationwide
                                                                                                               Case 3:16-cv-03539-LB Document 120-1 Filed 05/31/18 Page 58 of 173
Program     Location      Total        Type of     For each          Whether the         Amount of
                          number of Service        request,          UC was              time it took
                          requests for Requested   identify the      referred or         to provide
                          abortion/con             type of service   transferred to      the services
                          traception-              provided          another care
                          related svcs                               provider to
                          FY 14-16                                   provide the
                                                                     service
Youth for   Bristow, VA        3      Abortion     Non-directive     2 UCs were          The UC that
Tomorrow                                           options           transferred and 1   was
                                                   counseling        was discharged      discharged
                                                                     to her sponsor,     took three
                                                                     who moved           weeks to
                                                                     forward with the    discharge to
                                                                     UC’s desire.        sponsor. One
                                                                                         UC who was
                                                                                         transferred
                                                                                         received non-
                                                                                         directive
                                                                                         options
                                                                                         counseling at
                                                                                         18 days LOC
                                                                                         and
                                                                                         transferred at
                                                                                         33 days LOC.
                                                                                         The second
                                                                                         UC was
                                                                                         transferred at
                                                                                         LOC 16 days.
                                                                                                          Case 3:16-cv-03539-LB Document 120-1 Filed 05/31/18 Page 59 of 173
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Program           Location     Total        Type of     For each          Whether the      Amount of
                               number of Service        request,          UC was           time it took
                               requests for Requested   identify the      referred or      to provide
                               abortion/con             type of service   transferred to   the services
                               traception-              provided          another care
                               related svcs                               provider to
                               FY 14-16                                   provide the
                                                                          service
Commonwealth       Richmond,        0      N/A          N/A               N/A              N/A
Catholic Charities VA
                                                                                                          Case 3:16-cv-03539-LB Document 120-1 Filed 05/31/18 Page 62 of 173
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                 Exhibit C
             Deposition of Jonathan White
                   (Dec. 19, 2017)
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                                                                       Page 1
          IN THE UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF CALIFORNIA
                San Francisco Division
 - - - - - - - - - - - - - -+
                            |
 AMERICAN CIVIL LIBERTIES   |
 UNION OF NORTHERN          |
 CALIFORNIA,                |
                            |
           Plaintiff,       |          Case Number:
                            |
   vs.                      |          3:16-cv-3539-LB
                            |
 ERIC G. HARGAN, Acting     |
 Secretary of Health and    |
 Human Services, et al,     |
                            |
           Defendants,      |
                            |
 U.S. CONFERENCE OF         |
 CATHOLIC BISHOPS,          |
                            |
    Defendant-Intervenor.   |
                            |
 - - - - - - - - - - - - - -+

       Rule 30(b)(6) Videotaped Deposition of
    The Department of Health and Human Services,
    by and through its designated representative,
                       JONATHAN WHITE
                       Washington, D.C.
          Tuesday, December 19, 2017 - 3:14 p.m.




Reported by:
Laurie Donovan, RPR, CRR, CSR
Job no: 20318


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                                                                           Page 2
 1        Rule 30(b)(6) Videotaped Deposition of
 2      The Department of Health and Human Services,
 3      by and through its designated representative,
 4                         JONATHAN WHITE
 5
 6
 7   Held at the offices of:
 8              U.S. Department of Justice
 9              20 Massachusetts Avenue, N.W.
10              Room 6139
11              Washington, D.C. 20001
12              (202)353-4556
13
14
15
16
17
18                     Taken pursuant to notice, before
19        Laurie Donovan, Registered Professional
20        Reporter, Certified Realtime Reporter, and
21        Notary public in and for the District of
22        Columbia.
23
24
25


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                                                                           Page 3
 1                     A P P E A R A N C E S
 2   ON BEHALF OF PLAINTIFF AMERICAN CIVIL LIBERTIES
 3   UNION OF NORTHERN CALIFORNIA:
 4              ACLU Foundation
 5              125 Broad Street, 18th Floor
 6              New York, New York 10004
 7              (212)519-7897
 8              By:    Brigitte Amiri, Esq.
 9                     bamiri@aclu.org
10                     Meagan Burrows, Esq.
11                     mburrows@aclu.org
12   ON BEHALF OF THE DEFENDANT-INTERVENOR USCCB:
13              Gibson, Dunn & Crutcher, LLP
14              333 South Grand Avenue
15              Los Angeles, California 90071
16              (213)229-7000
17              By:    Daniel Nowicki, Esq.
18                     dnowicki@gibsondunn.com
19                     Robert Dunn, Esq. (phone)
20                     rdunn@gibsondunn.com
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                                                                           Page 4
 1   (Appearances continued)
 2   ON BEHALF OF OFFICIAL CAPACITY FEDERAL DEFENDANTS
 3   ERIC G. HARGAN AND DEPARTMENT OF HEALTH AND HUMAN
 4   SERVICES:
 5               U.S. Department of Justice
 6               20 Massachusetts Avenue, N.W.
 7               Room 6139
 8               Washington, D.C. 20001
 9               (202)353-4556
10               By:   Martin M. Tomlinson, Esq.
11                     martin.m.tomlinson@usdoj.gov
12                     Peter J. Phipps, Esq.
13                     peter.phipps@usdoj.gov
14   ALSO PRESENT:
15               Martin Sherrill, Videographer
16               Llewellyn Woolford, Esq. (HHS)
17               Caitlin Palacios, Esq. (HHS)
18               Jeffrey Hunter Moon, Esq. (USCCB)
19               Rachel Chrisinger, paralegal
20
21
22
23
24
25


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                                                                          Page 6
 1                    P R O C E E D I N G S
 2                    THE VIDEOGRAPHER:       This is tape
 3       number 1A of the videotaped deposition of
 4       Jonathan White in the matter of ACLU of
 5       Northern California versus Burwell.            This
 6       deposition is being held at 20 Massachusetts
 7       Avenue, Northwest, Washington, D.C. on
 8       December 19, 2017, at approximately 3:14.
 9                    My name is Martin Sherrill from the
10       firm of TransPerfect, and I'm the legal video
11       specialist.      The court reporter today is
12       Laurie Donovan in association with
13       TransPerfect.
14                    Will counsel please introduce
15       themselves.
16                    MS. AMIRI:     Brigitte Amiri for
17       plaintiff.
18                    MS. BURROWS:      Meagan Burrows for
19       plaintiff.
20                    MR. NOWICKI:      Daniel Nowicki for
21       defendant-intervenor USCCB.
22                    MR. MOON:     Jeffrey Moon with the
23       USCCB.
24                    MR. PHIPPS:     Peter Phipps for the
25       official capacity defendants.


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                                                                           Page 7
 1                       MR. TOMLINSON:     Martin Tomlinson
 2        for official capacity federal defendants.
 3                       MR. WOOLFORD:     Llewellen Woolford
 4        for defendant US Department of Health and
 5        Human Services.
 6                       MS. PALACIOS:     Caitlin Palacios for
 7        defendant United States Department of Health
 8        and Human Services.
 9                       MS. CHRISINGER:     Rachel Chrisinger,
10        paralegal with the Department of Justice.
11                       THE VIDEOGRAPHER:     Would the court
12        reporter please swear in the witness.
13                          JONATHAN WHITE,
14        having been first duly sworn, testified
15        upon his oath as follows:
16            EXAMINATION BY COUNSEL FOR PLAINTIFF
17   BY MS. AMIRI:
18        Q      Mr. White, I'm Brigitte Amiri.          I am the
19   plaintiff's, the plaintiff's attorney, and thank
20   you so much for making the time today.
21               Have you ever been deposed before?
22        A      I have not been deposed before.
23        Q      Okay.     So I'm sure that your counsel has
24   already told you some of the ground rules, but
25   just to quickly go over them, if you need a break


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                                                                           Page 21
 1        Q     Do you recognize this document?
 2        A     I do.    This is from our online policy
 3   guide.
 4        Q     And looking at the second bullet under
 5   the sentence that starts "under the terms of the
 6   Flores Settlement Agreement."
 7        A     Okay.
 8        Q     What is your understanding of what is
 9   required under this policy?         And we'll talk about
10   Flores separately just in case there is any
11   distinction.     What is your understanding, under
12   the policy in front of you, about what is included
13   in terms of what care providers must provide in
14   terms of appropriate, routine medical and dental
15   care, family planning services, including
16   pregnancy tests and comprehensive information
17   about and access to medical reproductive health
18   services and emergency contraception?
19              That wasn't a question yet, but the
20   question is:     Does -- do you -- is it your
21   understanding that includes access to abortion?
22        A     At what point in time?
23        Q     At what point in time in pregnancy?
24        A     No, what -- at what point in time, to
25   answer that question.


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                                                                           Page 22
 1        Q     Oh, in terms of the administration.
 2   Since 2017.
 3        A     So at this time?
 4        Q     Yes, at this time.
 5        A     At this time it is my understanding that
 6   HHS does not view abortion as included in family
 7   planning services.
 8        Q     Okay, and does HHS at this time consider
 9   abortion to be part of access to medical
10   reproductive health services?
11        A     Not at this time.
12        Q     Are you aware of a time in which HHS did
13   consider access to medical reproductive health
14   services or family planning to include abortion?
15        A     Yes.
16        Q     And when was that time?
17        A     That was the operational interpretation
18   in the last administration.
19        Q     So the actual language of the policy has
20   not changed, right?
21        A     Correct.
22        Q     It's just the interpretation of the
23   policy has changed between the last administration
24   and this administration?
25        A     The operational understanding of what


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                                                                           Page 23
 1   family planning services and medical reproductive
 2   health services and emergency contraception refers
 3   to has changed.
 4        Q     Has there been any change in the
 5   understanding of whether this includes -- this
 6   definition in bullet 2 includes contraception?
 7        A     Routine contraception for contraception
 8   purposes has not been understood to be part of
 9   family planning, as I understand it, in either of
10   those points in time.
11        Q     What is the definition of "family
12   planning services" then for -- let's start with
13   this administration.
14        A     Family planning services would include
15   prenatal care.     It would include general
16   reproductive health, such as Ob-Gyn visits or
17   urology visits.     It would include sexual health
18   education, particularly where required under the
19   state licensure laws of the state in which the
20   shelter is domiciled.
21        Q     Is contraception for contraceptive
22   purposes included in the phrase "access to medical
23   reproductive health services"?
24        A     It is my understanding it has not been.
25   Children while in our care are not permitted to


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                                                                           Page 24
 1   engage in sexual behavior and, therefore, do not
 2   routinely receive routine contraception.
 3           Q   Is that true both with respect to this
 4   presidential administration and the last
 5   presidential administration?
 6           A   That's my understanding, yes.
 7           Q   With respect to "emergency
 8   contraception," what does that mean?
 9           A   Emergency -- at this time?
10           Q   Yes.
11           A   Emergency contraception would be a
12   requirement under the Interim Final Rule for
13   minors who were sexually assaulted while in ORR
14   care.
15           Q   So do you believe that a minor who had
16   not been sexually assaulted while at an ORR-funded
17   facility would not be permitted to have access to
18   emergency contraception?
19           A   I don't think we have a policy on that
20   at this time.
21           Q   When medical care is provided to
22   unaccompanied minors, there is a treatment
23   authorization request that is submitted; is that
24   right?
25           A   For some, for some medical interventions


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                                                                           Page 36
 1          Q     Well, let's say five, five years.
 2          A     It has happened.
 3          Q     Okay.    Has it happened since
 4   January 2017?
 5          A     It has not happened, to my knowledge,
 6   since January of 2017.
 7          Q     Is it possible that it could have
 8   happened without your knowledge since 2017?
 9          A     It is possible but unlikely that it
10   would have happened without my knowledge since
11   January of 2017.
12          Q     Is it fair to say since March 2017,
13   let's say, you have been aware of all abortion
14   requests that have been brought to ORR's
15   attention?
16          A     Yes.    If they have been brought to ORR
17   headquarters' attention, I have been aware of them
18   all.
19          Q     It's possible that some abortion
20   requests may not have made it to ORR?           Is that
21   possible?
22          A     It is possible that some abortion
23   requests may never have been brought to ORR's
24   attention.
25          Q     Do you have a sense from speaking with


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                                                                           Page 37
 1   grantees or doing field visits whether that
 2   happens in terms of a request for abortion doesn't
 3   make it either because it doesn't get communicated
 4   from the shelter to ORR or some other gap in
 5   communication elsewhere in the chain?
 6           A   I am aware of instances where minors
 7   received abortion without director-level
 8   authorization.
 9           Q   Are you aware of the converse, where a
10   minor has wanted an abortion but has not been able
11   to obtain one because her request has not been
12   brought up the chain?
13           A   No, I'm not aware of any instances like
14   that.
15           Q   Are you aware of any instance where a
16   minor was unable to obtain an abortion because of
17   the religious affiliation of the shelter within
18   which she resided?
19           A   I am not aware of any such instance.
20           Q   So sitting here today in terms of -- oh,
21   now I forgot if I've asked this.
22               I believe you said that since March 2017
23   there has not been an instance where there has
24   been an abortion request from a religiously
25   affiliated shelter that had a religious objection


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                                                                           Page 38
 1   to providing an abortion; is that right?
 2        A     That's correct.
 3        Q     Okay.    So prior to March 2017, how did
 4   it work when a religiously affiliated shelter had
 5   an objection to providing access to abortion for a
 6   minor?   If you can walk me through the steps.
 7   Presumably they contacted ORR and said we have a
 8   minor who is requesting an abortion, and then ORR
 9   took what next steps?
10        A     So in those cases where that occurred, I
11   think it's substantially, as you see it here, that
12   the, the grantee program that would have a
13   religious or other objection to facilitating
14   termination of pregnancy would notify their
15   federal field specialist, which is the ORR
16   official regionally responsible for that program.
17   The FFS would then -- in most cases, FFSs would
18   then coordinate with the medical team with those
19   on the FFS team to transfer the minor to a program
20   that would enable her to receive the TOP.
21        Q     Do you have a sense of the average
22   length of time it took to make that transfer
23   between the religiously affiliated entity and an
24   entity that did not have an objection to providing
25   access to abortion?


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                                                                           Page 39
 1        A       I don't have any firm measures.
 2   Transfer of a UAC from one shelter to another is
 3   generally a one- to three-day process.
 4        Q       Regardless of whether that transfer is
 5   related to an abortion, just in general, I presume
 6   there are transfers for other reasons?
 7        A       There are numerous transfers shelter to
 8   shelter, and that is, that is typical.            I'm not
 9   aware of anything that would be different
10   operationally for a transfer in order to enable a
11   minor to access TOP.
12        Q       Do you have a sense of how long it takes
13   from the time ORR receives an abortion request to
14   make a decision one way or another about whether
15   to grant or deny that request?
16        A       There's not a specific time frame in my
17   experience.
18        Q       Is there -- there's not a specific time
19   frame within which the ORR director has to act on
20   a request?     Is that the -- I just wanted to
21   clarify.
22        A       That's correct.     There is not a scripted
23   time frame for the process.
24        Q       Do you have a sense just in practice how
25   long it takes between the time the director gets a


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                                                                           Page 40
 1   request and decides whether to approve the
 2   abortion or not since 2017 of March -- March of
 3   2017?
 4           A   I would say it has varied.
 5           Q   Okay.   Do you have a sense of whether
 6   that variation is several days, weeks, any just
 7   ballpark estimates of averages of time between a
 8   request and the ORR directing -- ORR actor,
 9   director acting on that request?
10           A   The, the process is typically that, upon
11   notification, there is then an instruction for
12   next steps.    Those steps are completed, and there
13   may be steps subsequent.
14           Q   What are those next steps?
15           A   It has varied.
16           Q   Since March 2017, has one of those steps
17   been a visit to a crisis pregnancy or crisis
18   resource center?
19           A   In some cases, yes.
20           Q   In some but not all?
21           A   Correct.
22           Q   The majority of cases?
23           A   I don't know that I have a count.
24   Certainly in a number of cases.
25           Q   Do you know how many abortion requests


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                                                                           Page 42
 1        A     In some cases it has been without -- it
 2   has been over the objection of the minor.
 3        Q     Based on your social work background, do
 4   you think it's wise to notify a parent of a
 5   minor's abortion decision over her objection?
 6              This is outside 30(b)(6).
 7                      MR. PHIPPS:     I'll object.     Beyond
 8        the scope of 30(b)(6).         Clarifying that in
 9        this instance "you" means "the witness you,"
10        not you, "designee by HHS you"?
11                      MS. AMIRI:     Yes.
12                      THE WITNESS:     Could you ask the
13        question again?
14   BY MS. AMIRI:
15        Q     Sure.
16              Subject to Peter's, Mr. Phipps'
17   objections, which will stand after I finish my
18   question, but based on your social worker
19   background and, and training, do you think it's
20   wise to notify a minor's parents of her abortion
21   decision over the minor's objection?
22        A     I would not recommend such a
23   notification.
24        Q     Why is that?
25        A     Because of the potential of additional


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                                                                           Page 43
 1   harm or risk.
 2        Q      Do you -- we talked a little bit about
 3   whether there have been any transfers since March
 4   of 2017 from a religiously affiliated grantee to a
 5   secular facility since March of 2017, but my
 6   question is going to be slightly different,
 7   whether, since March of 2017, there have been any
 8   initial placement decisions about whether a minor
 9   should be placed in a particular location because
10   she's pregnant and seeking an abortion.
11        A      So I have to answer that in -- could
12   you -- so --
13        Q      Let me rephrase it, yeah, and so we'll
14   start with the time frame.
15        A      Right.
16        Q      Since March 2017 --
17        A      Right.
18        Q      -- has ORR made any placement decisions
19   about whether a minor is pregnant and seeking an
20   abortion?
21        A      We have made no placement decisions
22   based on a minor expressing an interest in
23   abortion.    We do routinely make placement
24   decisions based on knowing that a minor is
25   pregnant -- if we know that -- to a bed licensed


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                                                                           Page 44
 1   to receive a pregnant girl.         We have made no
 2   decisions, no placements differently on the basis
 3   of awareness that the minor was interested in
 4   terminating the pregnancy.
 5        Q       Do you know whether prior to 2017 there
 6   were placement decisions based on a minor's
 7   request for an abortion specifically to avoid
 8   putting her in a shelter where there might be a
 9   religious objection to providing her access to
10   abortion?
11        A       I'm not aware of any such placement
12   decisions.
13        Q       Do you know how many current ORR
14   grantees have religious objections to providing
15   access to abortion or contraception?
16        A       I think the ones of which I'm aware,
17   they sort of have a documented objection, I
18   believe is the, the USCCB network.
19        Q       Any others that you're aware of?
20        A       There may be, there may be others.
21   That's the one of which I'm aware from my, my
22   reading of the, of the documents.
23        Q       Have you personally been involved in
24   negotiating the terms of a cooperative agreement
25   with religiously affiliated entities that have a


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                                                                           Page 45
 1   religious objection to providing abortion or
 2   contraception?
 3           A   I have not.
 4           Q   Do you have knowledge of the process by
 5   which such cooperative agreements were negotiated
 6   by your colleagues at ORR?
 7           A   I don't believe that cooperative
 8   agreements are negotiated in that way with
 9   individual providers.       I think there's a standard
10   cooperative agreement produced for a period of
11   time.
12           Q   So you're not aware, for example, of a
13   situation where a religiously affiliated grantee
14   had asked to remove certain terms from the
15   cooperative agreement related to access to
16   abortion or contraception?
17           A   I am aware that, that grantees may have
18   sought a reasonable accommodation to the terms of
19   the cooperative agreement.        That's not a
20   negotiation of the cooperative agreement.
21           Q   Okay, but is it your understanding that
22   the actual language in the cooperative agreement
23   may have changed based on a religious objection to
24   providing access to abortion or contraception?
25                     MR. PHIPPS:     Just I'll impose --


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                                                                           Page 96
 1   access to abortion or contraception?
 2        A       No.   There's been no new decision or
 3   policy formulation that's been shared with me.
 4                      MS. AMIRI:    Okay.    I don't have
 5        anything further at this time.           I would like
 6        to say, before I forget, though, that we have
 7        an agreement to keep this deposition open in
 8        case we need to come back and have a quick
 9        conversation after we get additional
10        documents that the government is to produce
11        by the close of discovery this week.
12                      MR. PHIPPS:    Oh, and just to
13        clarify --
14                      MS. AMIRI:    Yes.
15                      MR. PHIPPS:    -- we're going to
16        produce documents through the close of
17        discovery --
18                      MS. AMIRI:    Correct.
19                      MR. PHIPPS:    -- but I don't think
20        we're going to produce them this week.
21                      MS. AMIRI:    By close?     By the end
22        of --
23                      MR. PHIPPS:    Yeah, it will be
24        through that date, but --
25                      MS. AMIRI:    Fair enough.      Okay.


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                                                                           Page 97
 1        We'll talk about it.
 2                 EXAMINATION BY COUNSEL FOR
 3                OFFICIAL CAPACITY DEFENDANTS
 4   BY MR. PHIPPS:
 5        Q     Good afternoon, Mr. White.          My name is
 6   Peter Phipps.     I'm an attorney at the Department
 7   of Justice, and I represent the defendants in
 8   their official capacity in this case.           I have a
 9   few follow-up questions for you about your
10   testimony today.
11        A     Yes, sir.
12        Q     First, are you aware of any instance in
13   which any grantee shelter has made a final
14   decision that an unaccompanied alien child in its
15   custody may not receive contraception?
16        A     No.
17        Q     Are you aware of any instance in which
18   any grantee shelter has made the final decision
19   that an unaccompanied alien child in its custody
20   may not receive access to an abortion?
21        A     No.
22        Q     As deputy directer of ORR, are you aware
23   of any preferential treatment that HHS or ORR has
24   given to any faith-based grantee or faith-based
25   applicant for the care and custody of


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                                                                           Page 98
 1   unaccompanied alien children?
 2        A      No.
 3                     MR. PHIPPS:     Thank you.      That's all
 4        I have.
 5       EXAMINATION BY COUNSEL FOR DEFENDANT USCCB
 6   BY MR. NOWICKI:
 7        Q      Good afternoon.      I'm Dan Nowicki for
 8   USCCB.   I just have maybe just one quick follow-up
 9   question.
10               So you were asked a question about Seton
11   Home and their affiliation with certain grantee
12   networks, and I believe you may have already
13   clarified this, but do you know which grantee
14   network Seton Home is part of?
15        A      I don't.    I would need to check.
16                     MR. NOWICKI:      I have no further
17        questions.
18                     THE WITNESS:      Right.
19                     THE VIDEOGRAPHER:       Going off the
20        record at 5:53.
21                     THE REPORTER:      And do you still
22        want a rough draft?
23                     MS. AMIRI:     Sure.
24                     MR. PHIPPS:     We get a transcript.
25                     MR. NOWICKI:      I get a transcript.


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                                                                       Page 100
 1
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 4
 5
 6                  ACKNOWLEDGEMENT OF WITNESS
 7                     I, Jonathan White, do hereby
 8        acknowledge that I have read and examined the
 9        foregoing testimony, and the same is a true,
10        correct and complete transcription of the
11        testimony given by me, and any corrections
12        appear on the attached Errata sheet signed by
13        me.
14
15
16   __________________ ______________________________
17   (DATE)                 (SIGNATURE)
18
19
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                                                                       Page 102
 1
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 5
 6   CERTIFICATE OF SHORTHAND REPORTER -- NOTARY PUBLIC
 7                  I, Laurie Donovan, Registered
          Professional Reporter, Certified Realtime
 8        Reporter, the officer before whom the
          foregoing deposition was taken, do hereby
 9        certify that the foregoing transcript is a
          true and correct record of the testimony
10        given; that said testimony was taken by me
          stenographically and thereafter reduced to
11        typewriting under my supervision; and that I
          am neither counsel for, related to, nor
12        employed by any of the parties to this case
          and have no interest, financial or otherwise,
13        in its outcome.
14                  IN WITNESS WHEREOF, I have hereunto
          set my hand and affixed my notarial seal this
15        2nd day of January, 2018.
16        My commission expires:         March 14th, 2021
17
18
19   _____________________________
20   LAURIE DONOVAN
     NOTARY PUBLIC IN AND FOR
21   THE DISTRICT OF COLUMBIA
22
23
24
25


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                 Exhibit D
             Deposition of Katherine Chon
                   (Dec. 19, 2017)
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                                                                       Page 1
          IN THE UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF CALIFORNIA
                San Francisco Division
 - - - - - - - - - - - - - -+
                            |
 AMERICAN CIVIL LIBERTIES   |
 UNION OF NORTHERN          |
 CALIFORNIA,                |
                            |
           Plaintiff,       |          Case Number:
                            |
   vs.                      |          3:16-cv-3539-LB
                            |
 ERIC G. HARGAN, Acting     |
 Secretary of Health and    |
 Human Services, et al,     |
                            |
           Defendants,      |
                            |
 U.S. CONFERENCE OF         |
 CATHOLIC BISHOPS,          |
                            |
    Defendant-Intervenor.   |
                            |
 - - - - - - - - - - - - - -+

       Rule 30(b)(6) Videotaped Deposition of
    The Department of Health and Human Services,
    by and through its designated representative,
                       KATHERINE CHON
                     Washington, D.C.
         Tuesday, December 19, 2017 - 9:24 a.m.




Reported by:
Laurie Donovan, RPR, CRR, CSR
Job no: 20318


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                                                                           Page 2
 1        Rule 30(b)(6) Videotaped Deposition of
 2      The Department of Health and Human Services,
 3      by and through its designated representative,
 4                         KATHERINE CHON
 5
 6
 7   Held at the offices of:
 8              U.S. Department of Justice
 9              20 Massachusetts Avenue, N.W.
10              Room 6139
11              Washington, D.C. 20001
12              (202)353-4556
13
14
15
16
17
18                     Taken pursuant to notice, before
19        Laurie Donovan, Registered Professional
20        Reporter, Certified Realtime Reporter, and
21        Notary public in and for the District of
22        Columbia.
23
24
25


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                                                                           Page 3
 1                     A P P E A R A N C E S
 2   ON BEHALF OF PLAINTIFF AMERICAN CIVIL LIBERTIES
 3   UNION OF NORTHERN CALIFORNIA:
 4              ACLU Foundation
 5              125 Broad Street, 18th Floor
 6              New York, New York 10004
 7              (212)519-7897
 8              By:    Brigitte Amiri, Esq.
 9                     bamiri@aclu.org
10                     Meagan Burrows, Esq.
11                     mburrows@aclu.org
12   ON BEHALF OF THE DEFENDANT-INTERVENOR USCCB:
13              Gibson, Dunn & Crutcher, LLP
14              333 South Grand Avenue
15              Los Angeles, California 90071
16              (213)229-7000
17              By:    Daniel Nowicki, Esq.
18                     dnowicki@gibsondunn.com
19                     Robert Dunn, Esq. (phone)
20                     rdunn@gibsondunn.com
21
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23
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                                                                           Page 4
 1   (Appearances continued)
 2   ON BEHALF OF OFFICIAL CAPACITY FEDERAL DEFENDANTS
 3   ERIC G. HARGAN AND DEPARTMENT OF HEALTH AND HUMAN
 4   SERVICES:
 5               U.S. Department of Justice
 6               20 Massachusetts Avenue, N.W.
 7               Room 6139
 8               Washington, D.C. 20001
 9               (202)353-4556
10               By:   Martin M. Tomlinson, Esq.
11                     martin.m.tomlinson@usdoj.gov
12                     Peter J. Phipps, Esq.
13                     peter.phipps@usdoj.gov
14   ALSO PRESENT:
15               Martin Sherrill, Videographer
16               Llewellyn Woolford, Esq. (HHS)
17               Caitlin Palacios, Esq. (HHS)
18               Jeffrey Hunter Moon, Esq. (USCCB)
19               Rachel Chrisinger, paralegal
20
21
22
23
24
25


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                                                                          Page 9
 1                    P R O C E E D I N G S
 2                    THE VIDEOGRAPHER:       This is tape
 3       number 1 of the videotaped deposition of
 4       Katherine Chon in the matter of ACLU of
 5       Northern California versus Burwell [sic].
 6       This deposition is being held at 20
 7       Massachusetts Avenue, Northwest, Washington,
 8       D.C., on December 19, 2017, at approximately
 9       9:24.
10                    My name is Martin Sherrill from
11       TransPerfect, and I'm the legal video
12       specialist.      The court reporter today is
13       Laurie Donovan in association with
14       TransPerfect.
15                    Would counsel please introduce
16       themselves.
17                    MS. BURROWS:      Meagan Burrows for
18       the plaintiff.
19                    MS. AMIRI:     Brigitte Amiri for the
20       plaintiff.
21                    MR. NOWICKI:      Daniel Nowicki for
22       defendant-intervenor USCCB.
23                    MR. MOON:     Jeffrey Moon with the
24       defendant-intervenor.
25                    MR. TOMLINSON:      Martin Tomlinson


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                                                                           Page 10
 1           for the official capacity federal defendants.
 2                          MR. PHIPPS:     Peter Phipps for the
 3           official capacity federal defendants.
 4                          MR. WOOLFORD:     Llewellyn Woolford
 5           for defendant US Department of Health and
 6           Human Services.
 7                          MS. PALACIOS:     Caitlin Palacios for
 8           the defendant US Department of Health and
 9           Human Services.
10                          MS. CHRISINGER:     Rachel Chrisinger,
11           paralegal with the Department of Justice.
12                          THE VIDEOGRAPHER:     Would the court
13           reporter please swear in the witness.
14                             KATHERINE CHON,
15           having been first duly sworn, testified
16           upon her oath as follows:
17               EXAMINATION BY COUNSEL FOR PLAINTIFF
18   BY MS. BURROWS:
19           Q      Okay.     My name is Meagan Burrows, and
20   I'm one of the attorneys representing the
21   plaintiff ACLU of Northern California in this
22   case.       I'm just going to go over a few preliminary
23   deposition tips and tricks and points before we
24   get into the substance.
25                  Okay?


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                                                                           Page 32
 1   an ATIP, but it merged into OTIP when OTIP was
 2   founded.
 3              So how does OTIP relate to ORR in terms
 4   of administrating the grants that ORR provides to
 5   grantees to provide care for unaccompanied
 6   immigrant minors?
 7        A     So we are not responsible for any of the
 8   grants that ORR awards for the care of
 9   unaccompanied minors.       We work with the
10   unaccompanied minor program within the scope of
11   our responsibilities to review requests for
12   assistance for certain foreign victims of
13   trafficking.
14              So when it comes to foreign minor
15   victims of trafficking who may have or who have
16   experienced human trafficking, ORR staff or ORR
17   grantees may refer those cases to us through a
18   formal request for assistance process, and then we
19   review those cases and determine whether a minor
20   may have or has experienced human trafficking, and
21   if they have, then we issue either an interim
22   assistance letter, an eligibility letter so that
23   they could be eligible for benefits and services
24   to the same extent as refugees.
25        Q     So now I'd like to talk a little bit


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                                                                           Page 33
 1   about OTIP's role in awarding and administering
 2   grants through the Trafficking Victims Assistance
 3   Program.   We'll start at a very macro level, and
 4   then we can kind of narrow it.
 5              So my first question is:          What is the
 6   Trafficking Victim Assistance Program?
 7        A     In its current form?
 8        Q     In its current form, yes.
 9        A     So the Trafficking Victim Assistance
10   Program is a grant program with the purpose of
11   providing comprehensive victim services for
12   foreign victims of trafficking who have received
13   certification or are in positions of seeking
14   certification from HHS.
15              And these are time-limited funds, and
16   depending on the grantee, each grantee structures
17   in different ways, but a victim of trafficking
18   would receive case management support in addition
19   to funding to meet direct service needs, including
20   basic needs.     And the grant is providing
21   assistance to victims of trafficking and certain
22   eligible family members.
23        Q     And so OTIP would award the grant to
24   applicant organizations to apply seeking the
25   grant, and then do they administer the grant


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                                                                           Page 34
 1   through subgrantees?
 2                     MR. TOMLINSON:      Object to the form.
 3   BY MS. BURROWS:
 4        Q     I can rephrase.
 5              Does OTIP award a grant to a grant
 6   applicant who administers the grant through
 7   subgrantees?
 8        A     In the current grant that's in
 9   implementation, OTIP has awarded grants to
10   grants -- or to organization where each of those
11   three grantees have their own structure of how
12   they deliver services, but those structures in
13   each of those grantees includes a network of
14   service providers.
15        Q     And you said "in its current form."
16   How, if at all, was it different in 2015?
17        A     In 2015 meaning the, prior to -- so the
18   previous grant award?
19        Q     Yes.    Well, in your answer you
20   indicated -- and this could just be me picking up
21   on certain language where there is nothing there,
22   but that the current TVAP program may have been
23   different from prior iterations of the program.
24   So if you could tell me a little bit more about
25   how, if at all, the current program right now is


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                                                                           Page 64
 1   FOA requirements also include not verbally
 2   restricting subgrantees from providing or
 3   referring for abortion, sterilization or
 4   artificial contraceptives?
 5        A     Well, per the FOA requirements as it's
 6   stated there, "a grantee may not take any steps to
 7   discourage program participants," so whether
 8   that's in writing or verbal, that would be
 9   considered -- that would be a step.
10        Q     Okay, and we'll get more -- we'll get to
11   that a little bit later in terms of the Memorandum
12   of Understanding between USCCB and its
13   subrecipients.
14              If we turn to 528 now, actually, to 529,
15   there's an email to you and Maggie Wynne from
16   Kristyn Peck of USCCB, and she's thanking you "for
17   your time this afternoon," and the email is sent
18   at 5:42 p.m.
19              Did you have a meeting with USCCB on
20   September 10, 2015?
21        A     On September 10?
22        Q     Oh, sorry.      September 18, 2015.
23        A     Well, in reading the email, it seems
24   that there was some type of meeting or call.             I
25   can't know for sure.       There was a mix, mixture of


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                                                                           Page 65
 1   email and phone conversations during this time
 2   period, mostly over email, but there were at least
 3   a couple of phone conversations.
 4        Q     Do you recall the substance of any of
 5   those phone conversations?
 6        A     It would have, it would have been all
 7   related to what was captured in the email.
 8        Q     So everything that is -- everything that
 9   would have been discussed on the phone is also
10   reflected in email?
11        A     Substantively, yes.
12        Q     So if we look at USCCB's response to
13   your question that we just discussed of whether
14   they would be able to meet the FOA requirement,
15   and that is on page 529, they say, "As indicated
16   in our proposal in the first paragraph of page 13,
17   each of USCCB's subcontractors are affiliates of
18   either Catholic agencies or Bethany Christian
19   Services," and later on, down below, they say,
20   "Catholic agencies and Bethany Christian Services
21   have a religious objection to providing abortion,
22   sterilization, and artificial contraceptives.
23   Thus, USCCB will be able to comply" . . .
24              When you read this response, did you
25   have any concerns about the fact that all of


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                                                                        Page 66
 1   USCCB's -- according to USCCB's own statement, all
 2   of its subgrantees would have religious objections
 3   to providing those services?
 4         A     Well, in terms of the Funding
 5   Opportunity Announcement, the FOA left it to each
 6   grantee to determine their subrecipient network.
 7   As the government agency implementing the FOA, we
 8   can't direct grantees which subrecipients they
 9   should or should not enroll.
10               However, there are other conditions of
11   the FOA that if -- so in USCCB's narrative, they
12   did explain that they have these current
13   relationships with these network of service
14   providers, but through the course of the grant
15   program, that they would identify additional
16   organizations to potentially enroll in their
17   network, and, and so it was -- so while we can't
18   be directive of who a grantee chooses to --
19   chooses as its subrecipients, there are conditions
20   in the FOA that would prohibit any practices --
21   let me see.
22               There is some language in here that may
23   be helpful if we specifically reference.
24         Q     I think there's language from the FOA on
25   533 at the top.      That's with the alternative


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                                                                        Page 67
 1   approach.    It might not be in here.         It may be
 2   back in the FOA.      We can also find it on a break
 3   as well.
 4         A     Mm-hmm.    There is -- so there's language
 5   in the Funding Opportunity Announcement that
 6   attempts to balance out a grantee's self-direction
 7   on who the subrecipients would be, but also
 8   prohibiting certain practices that would not meet
 9   the full conditions of the FOA.
10         Q     And you said that in terms of the
11   discussion with USCCB about its grant, that they
12   indicated that throughout, you know, the course of
13   administering the grant, they would enroll other
14   grantees, subgrantees, possibly, right?             Apart
15   from the ones with religious objections that they
16   identified here, correct?
17         A     Well, I would want to refer to what was
18   actually in their program narrative.            From my
19   recollection, I think it was just simply that they
20   would identify other organizations and didn't
21   necessarily specify one way or another in terms of
22   whether the organizations would share their
23   religious objections.
24         Q     Okay.
25               So in this chain, USCCB also explains


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                                                                        Page 68
 1   that under the alternative approach -- and we
 2   discussed this already a little bit.            It intended
 3   to advise subrecipients to direct beneficiaries to
 4   their medical providers in the event they are
 5   seeking services to which USCCB and its subgrantee
 6   had a moral objection, and that they would provide
 7   referrals or direct beneficiaries to public
 8   health, public community health providers that
 9   were part of the public health system, and would
10   not screen out any of the providers based on the
11   range of services they provided.
12               And you, I believe, asked a question --
13   let me just find it -- I believe it is on 530 --
14   about USCCB's identification of these public
15   health providers and screening out.
16               What prompted that question?
17         A     In our review prior to making an award,
18   we wanted to check that USCCB was able to fully
19   comply with the conditions of the FOA in regard to
20   their alternative approach, and so this was just a
21   subset of questions to ensure that victims had
22   access to information about the full range of
23   services available to them; and, and because
24   USCCB's alternative approach included connecting
25   their clients to health and medical service


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                                                                        Page 79
 1   subrecipients, why -- strike that.           Let me back up
 2   a bit.
 3               Were there any other -- apart from --
 4   who received 2015 grant funds, TVAP grand funds?
 5   Who were the grant recipients apart from USCCB?
 6         A     So there were two other grantees.            One
 7   was Tapestry, and the other was USCRI.
 8         Q     Do you recall if, apart from Tapestry
 9   and USCCB and USCRI, any other organizations
10   applied for TVAP grant funds that year?
11         A     Yes, there were other organizations.
12         Q     So when considering all of the
13   applicants for TVAP grant funds, knowing that at
14   least one of the applicants, USCCB, believed
15   that -- had religious objections to the provision
16   of abortion and contraceptive care that extended,
17   as they said, to the point of service provision,
18   and that they strongly desired to include language
19   in their agreements with subrecipients,
20   prohibiting them from referring or providing for
21   abortion and contraception, why was USCCB selected
22   from among the many organizations that applied for
23   grant funds?
24         A     SO I think it would be helpful to
25   understand how the grant review process happens --


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                                                                        Page 80
 1         Q     Sure.
 2         A     -- in part, to answer your question.
 3               So as the Funding Opportunity
 4   Announcement outlines, there was an initial
 5   screening process related to various
 6   disqualification factors that was kind of
 7   universal for any applicant, but then also
 8   specific for the TVAP grant program, and then
 9   after that initial screening or in that initial
10   screening, some applications were disqualified,
11   because they didn't -- because it triggered some
12   other disqualification factors that the FOA
13   outlined.
14               And then the second stage of review was
15   for the remaining applicants or applications went
16   to an independent review panel of grant reviewers,
17   and that independent review panel provided notes
18   and a scoring, a rank scoring of each of the
19   applications.
20               And then after that, there was a final
21   round of review where then I reviewed the rank
22   scorings, as well as reviewed the applications to
23   identify whether they could be in compliance with
24   the Funding Opportunity Announcement, and then a
25   final decision was made after those three steps.


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                                                                        Page 81
 1         Q     Would it have been simpler to award
 2   grant funds to a grantee that did not have
 3   religious objections to abortion and contraception
 4   for administration of the grant program?
 5                       MR. TOMLINSON:     Objection.     Vague.
 6   BY MS. BURROWS:
 7         Q     In terms of administering the program,
 8   monitoring, and ensuring compliance, and
 9   transferring beneficiaries from subgrantee to
10   subgrantee in the event that subgrantee had a
11   religious objection?
12                       MR. TOMLINSON:     We would object.
13         Calls for speculation.
14                       THE WITNESS:     Is there another --
15         I'm just trying to understand what you're
16         asking, trying to ask.
17   BY MS. BURROWS:
18         Q     Sure.     I guess I can say the award to
19   USCCB carried with it certain additional
20   requirements in terms of monitoring and in terms
21   of implementation and implementing the transfer
22   system proposed that compared to what would have
23   been required if USCCB did not have religious
24   objections to the provision of abortion and
25   contraception; is that right?


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                                                                       Page 132
 1   gets kind of the aggregate report of the
 2   subrecipients' individual monitoring reports,
 3   right?
 4         A     Yes.
 5         Q     Does HHS ever receive all of the
 6   subrecipient monitoring reports?
 7         A     No.
 8         Q     So it's only the information that the
 9   grantee provides to HHS in its monitoring report
10   that it has received from its subrecipients
11   through their monitoring reports?
12         A     That's correct.
13         Q     Okay, and so do you recall at any time,
14   apart from the time around here, receiving
15   information from USCCB, pursuant to its monitoring
16   report obligations, about whether clients were
17   being referred to healthcare providers?
18         A     So each grantee files quarterly program
19   and financial reports, and I don't review those
20   reports, so I'm not sure.
21         Q     Okay.    Do you recall any cases during
22   the implementation of the 2015 grant where a
23   trafficking survivor requested access to abortion
24   or contraception, and a subgrantee refused to
25   provide on religious grounds?


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                                                                       Page 133
 1           A    No, I'm not aware.
 2           Q    Who at HHS would be aware, if anyone, of
 3   that?
 4           A    Our -- the program, the project officer,
 5   so Sherri Harris would be aware, and whoever
 6   Sherri may have told.        I mean those are situations
 7   where she would bring it to my attention or to the
 8   deputy director's attention.
 9           Q    But you don't recall that ever
10   occurring?
11           A    Where there was a request that was
12   denied or a request --
13           Q    I guess I'll do both, but first, do you
14   recall HHS having to -- do you recall a request
15   being made for abortion or access to contraception
16   and a subrecipient or a subgrantee or the grantee
17   themselves requesting transfer of the beneficiary
18   because they had a religious objection to that
19   service?
20           A    No.
21           Q    Do you recall an instance where a
22   beneficiary requested access to abortion or
23   contraception, and the subrecipient -- and there
24   were issues accessing abortion or contraception
25   because of a subrecipient's objections to


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                                                                       Page 134
 1   providing those services?
 2                      MR. TOMLINSON:      Object to the form.
 3   BY MS. BURROWS:
 4         Q     I can reask it, yeah.
 5               Do you recall a circumstance in which a
 6   beneficiary requested access to abortion and
 7   contraception and had issues accessing abortion or
 8   contraception because of a subgrantee's objection
 9   to providing those services?
10         A     No.
11                      MS. BURROWS:     So I'm going to mark
12         this as Exhibit 18.
13                      (Exhibit 18 was marked for
14                      identification.)
15   BY MS. BURROWS:
16         Q     This is Bates PRICE-PROD 9071 to 9083.
17   Looks like USCCB's continuation proposal for TVAP
18   for budget period September 30, 2016 to
19   September 29, 2017.
20               Have you seen this document before?
21         A     Yes.    It's just not clear whether this
22   is their initial submission for their continuation
23   year or their subsequent submission.
24                      MS. BURROWS:     Okay, great.
25                      I'm going to also mark this as


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                                                                       Page 135
 1         Exhibit 19.
 2                      (Exhibit 19 was marked for
 3                      identification.)
 4   BY MS. BURROWS:
 5         Q     This is PRICE-PROD 7964 to 66, which is
 6   an email exchange between you, Carolyn Hightower
 7   and Sherri Harris, and also including -- no, just
 8   you three -- discussing the Year 2 application,
 9   and it looks like on Bates, of that exhibit,
10   7964 -- or 7965 -- sorry -- to 7966, there is a
11   chart where Sherri compares the amended and
12   approved Year 1 application to USCCB's submitted
13   Year 2 application -- as I think you indicated,
14   there were revisions -- and then the amended Year
15   2 application.
16               And if we look at 7965, it shows that in
17   the Submitted Year 2 application, USCCB --
18                      THE REPORTER:     Can you slow down a
19         little?
20   BY MS. BURROWS:
21         Q     Yes.    In the Submitted Year 2
22   application, USCCB states that it "carries out its
23   TVAP program through agreements with primarily
24   Catholic social service agencies around the
25   country," and it looks like in the amended


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                                                                       Page 160
 1         A      Okay.
 2         Q      And if I use the term "grantee," that
 3   means a grantee who's receiving one of those
 4   grants?
 5         A      That's fine.
 6         Q      I will also use the term "TVAP" instead
 7   of the Trafficking Victim Assistance Program.              Is
 8   that okay?
 9         A      That's fine.
10         Q      Okay.
11                Was any TVAP grant awarded to any
12   religiously affiliated grantee for the purpose of
13   promoting religion?
14         A      No.
15         Q      Was any TVAP grant awarded to any
16   religiously affiliated grantee for the purpose of
17   promoting any specific religion or religious
18   belief?
19         A      No.
20         Q      Are you aware of any grantee using TVAP
21   grant funds for religious proselytization?
22         A      Not that I'm aware of.
23         Q      Are you aware of any grantee using TVAP
24   grant funds for religious instruction?
25         A      Not that I'm aware of.


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                                                                       Page 161
 1         Q     Are you aware of any grantee using TVAP
 2   grant funds for the purpose -- oh, excuse me.
 3   Scratch that.
 4               Are you aware of any grantee using TVAP
 5   grant funds for the purchase of religious items?
 6         A     Not that I'm aware of.
 7         Q     Are you aware of any grantee using TVAP
 8   grant funds for the purpose of purchasing or
 9   distributing religious literature?
10         A     Not that I'm aware of.
11         Q     Now, you talked about the funding
12   limitation on using grant funds for abortions.              Do
13   you remember that?
14         A     Yes.
15         Q     Does that funding limitation apply
16   equally to religiously affiliated and
17   nonreligiously affiliated grantees?
18         A     Yes.
19         Q     The trafficking victims who receive care
20   under this program, they are not in federal
21   custody; is that correct?
22         A     They -- I can't know for every single
23   victim, but generally they are not in federal
24   custody.
25         Q     And that generally means that wherever


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                                                                       Page 162
 1   they live, they're free to come and go as they
 2   please, correct?
 3         A     It's a voluntary program.
 4         Q     So can any, can any grantee prevent a
 5   trafficking victim from independently seeking
 6   contraception?
 7         A     No.
 8         Q     Can any grantee prevent a trafficking
 9   victim from independently seeking access to an
10   abortion?
11         A     No.
12         Q     I believe you testified previously that
13   any instance of a religiously affiliated grantee
14   refusing to provide services to a trafficking
15   victim would be elevated to your office at OTIP;
16   is that correct?
17         A     That's the current arrangement we have
18   with our grantees, that they would let us know.
19         Q     Okay.    Are you aware of any trafficking
20   victim being provided care by a TVAP grantee who
21   sought contraception but was unable to obtain it
22   due to the religious beliefs of the grantee?
23         A     Not to my knowledge.
24         Q     Are you aware of any trafficking victim
25   being provided care by a TVAP grantee who sought


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                                                                       Page 163
 1   an abortion but was unable to obtain it due to the
 2   religious beliefs of the grantee?
 3         A     Not to my knowledge.
 4         Q     And you testified previously that it
 5   might be possible that there may be a state that
 6   only had USCCB subgrantees.
 7               Do you remember that?
 8         A     Yes.
 9         Q     Now, if that were the case, and the
10   victim was requesting services that was not
11   provided by USCCB, what would you do?
12         A     We would work within our grantee network
13   and find referrals for other organizations that
14   could enroll within the network.
15                      MR. TOMLINSON:      That's all the
16         questions I have, and I think counsel for
17         USCCB may have a few questions.
18              EXAMINATION BY COUNSEL FOR USCCB
19   BY MR. NOWICKI:
20         Q     I'm Daniel Nowicki, and I'm counsel for
21   USCCB in this matter.        I'm going to use the same
22   terminology and abbreviations that Marty used if
23   that's okay?
24         A     That's, that's fine.
25         Q     So I think when we were talking about


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                                                                       Page 164
 1   some conversations you had with USCCB
 2   representatives in September 2015, we were
 3   discussing how you were ensuring that USCCB would
 4   comply with the FOA; is that correct?
 5           A   That's correct.
 6           Q   And I think in Exhibit 4 there was some
 7   discussion, and as part of this discussion you had
 8   had some points that you brought up regarding how
 9   you thought USCCB would need to change their
10   proposal in order to comply with FOA; is that
11   fair?
12               I'm looking at the USCCB Bates stamp 539
13   and 540 at the end of Exhibit 4.           Looks like an
14   email from Bridget passing on your questions.
15           A   Yes.    Those are questions we ask to
16   assess whether USCCB would be in compliance with
17   the FOA.
18           Q   So you wanted to ensure that USCCB would
19   ensure that traffic victims understand the full
20   range of services available so them, including
21   reproductive health services?
22           A   Yes.    That is one part of the
23   alternative approach.
24           Q   And you wanted to ensure that they would
25   make sure that victims requesting any of the


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                                                                       Page 178
 1   access those services, and absent that assistance,
 2   they may not be able to access those services?
 3                     MR. TOMLINSON:       Object to the form.
 4                     THE WITNESS:      Some victims.
 5   BY MS. BURROWS:
 6         Q     Thank you, and without waiving
 7   deliberative privilege, can you tell me -- can you
 8   talk as much as you can about what policy changes
 9   are being considered to the faith-based policy
10   that you, that you just referenced is currently
11   under review?
12                     MR. TOMLINSON:       Yeah, I know you
13         acknowledged it, but I am going to instruct
14         the witness not to answer anything
15         deliberative process.
16                     My understanding -- and she can
17         correct me if I'm wrong, because I may be
18         wrong, but the grantees have been informed
19         that it's under review but not given any
20         further information, and I think any further
21         information about specific policies that are
22         under review or any -- any more information
23         than that I think would go to deliberative
24         process.
25                     THE WITNESS:      I'm not aware of the


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                                                                       Page 179
 1         deliberations regarding that review.
 2   BY MS. BURROWS:
 3         Q       Okay.     Do you know whether Tapestry has
 4   a religious subgrantee with an objection to
 5   contraception or abortion?
 6         A       I am not aware of what all the
 7   subrecipient religious affiliations may be, but I
 8   am aware that both Tapestry and USCRI have
 9   subrecipients who have religious affiliations.
10                         MS. BURROWS:     I think that's all I
11         have.
12                         MR. NOWICKI:     I have like two more
13         questions.
14                         MR. TOMLINSON:     I mean it's fine
15         with me.
16         FURTHER EXAMINATION BY COUNSEL FOR USCCB
17   BY MR. NOWICKI:
18         Q       This is Dan Nowicki for USCCB again.
19                 Just with regard to the Cooperative
20   Agreement change that you mentioned, my
21   understanding is that that included a line in the
22   Cooperative Agreement saying that TVAP funds
23   cannot be used for abortion; is that correct?               Is
24   that part of the change?
25         A       I would need to look at -- I can't


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                                                                       Page 180
 1   remember if -- so that was a change in the, our
 2   domestic victims of human trafficking cooperative
 3   agreement, but for TVAP specifically, I can't
 4   remember if it was in an email or if it was in the
 5   actual updated Cooperative Agreement.
 6          Q    But either in the email or in the
 7   Cooperative Agreement, that specific language was
 8   referenced or described as now being part of the
 9   Cooperative Agreement?
10          A    Yes.    It references the HHS grants
11   policy statement from 2007.
12          Q    And like you said, the changes were made
13   to Tapestry and USCRI but not to USCCB's
14   Cooperative Agreement; is that correct?
15          A    That's correct.
16          Q    So USCRI and Tapestry now have a
17   statement that TVAP funds cannot be used for
18   abortions, and USCCB does not?
19          A    Specific to the Cooperative Agreement,
20   yes, that would be the case, but if that was
21   language that was additionally communicated in a
22   call with the grantees or email with the grantees,
23   it would apply to all -- I mean it does apply to
24   all.
25                      MR. NOWICKI:     That's all I have.


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                                                                      Page 181
 1                    THE VIDEOGRAPHER:        Going off the
 2        record at 3:05.
 3                    (Signature having not been waived,
 4                    the Rule 30b6 video deposition of
 5                    Department of Health and Human
 6                    Services, by and through its
 7                    designated representative,
 8                    KATHERINE CHON, was concluded
 9                    at 3:05 p.m.)
10
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                                                                       Page 182
 1
 2
 3
 4
 5
 6                   ACKNOWLEDGEMENT OF WITNESS
 7                     I, Katherine Chon, do hereby
 8         acknowledge that I have read and examined the
 9         foregoing testimony, and the same is a true,
10         correct and complete transcription of the
11         testimony given by me, and any corrections
12         appear on the attached Errata sheet signed by
13         me.
14
15
16   __________________ ______________________________
17   (DATE)                 (SIGNATURE)
18
19
20
21
22
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24
25


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                                                                       Page 184
 1
 2
 3
 4
 5
 6   CERTIFICATE OF SHORTHAND REPORTER -- NOTARY PUBLIC
 7                   I, Laurie Donovan, Registered
           Professional Reporter, Certified Realtime
 8         Reporter, the officer before whom the
           foregoing deposition was taken, do hereby
 9         certify that the foregoing transcript is a
           true and correct record of the testimony
10         given; that said testimony was taken by me
           stenographically and thereafter reduced to
11         typewriting under my supervision; and that I
           am neither counsel for, related to, nor
12         employed by any of the parties to this case
           and have no interest, financial or otherwise,
13         in its outcome.
14                   IN WITNESS WHEREOF, I have hereunto
           set my hand and affixed my notarial seal this
15         29th day of December, 2017.
16         My commission expires:        March 14th, 2021
17
18
19   _____________________________
20   LAURIE DONOVAN
     NOTARY PUBLIC IN AND FOR
21   THE DISTRICT OF COLUMBIA
22
23
24
25


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                  Exhibit E
            Deposition of Hilary L. Chester
                   (Nov. 16, 2017)
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         IN THE UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA
               SAN FRANCISCO DIVISION
- - - - - - - - - - - - - -+
                           |
AMERICAN CIVIL LIBERTIES   |
UNION OF NORTHERN          |
CALIFORNIA,                |
                           |
          Plaintiff,       |
                           |
  vs.                      |
                           |         Case Number:
THOMAS E. PRICE, Secretary |
of Health and Human        |         3:16-cv-3539-LB
Services, et al,           |
                           |
          Defendants.      |
                           |
U.S. CONFERENCE OF         |
CATHOLIC BISHOPS,          |
                           |
   Defendant-Intervenor.   |
- - - - - - - - - - - - - -+


            Rule 30(b)(6) Deposition of the
         U.S. Conference of Catholic Bishops
   by and through its designated representative,
                   HILARY L. CHESTER
                     Washington, D.C.
       Thursday, November 16, 2017 - 10:00 a.m.




Reported by:
Laurie Donovan, RPR, CRR, CSR
Job no: 20143


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                                                                             Page 2
 1             Rule 30(b)(6) Deposition of the
 2            U.S. Conference of Catholic Bishops
 3     by and through its designated representative,
 4                      HILARY L. CHESTER
 5
 6   Held at the offices of:
 7               Gibson Dunn & Crutcher
 8               1050 Connecticut Avenue, N.W.
 9               Washington, D.C. 20036
10               (202)955-8500
11
12
13
14
15
16
17
18                     Taken pursuant to notice, before
19        Laurie Donovan, Registered Professional
20        Reporter, Certified Realtime Reporter, and
21        Notary public in and for the District of
22        Columbia.
23
24
25


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                                                                             Page 3
 1                     A P P E A R A N C E S
 2   ON BEHALF OF THE PLAINTIFF:
 3               American Civil Liberties Union
 4               125 Broad Street, 18th Floor
 5               New York, New York 10041
 6               (212)519-7897
 7               By:   Brigitte Amiri, Esq.
 8                     bamiri@aclu.org
 9
10   ON BEHALF OF THE FEDERAL DEFENDANTS:
11               U.S. Department of Justice
12               Civil Division
13               20 Massachusetts Avenue, N.W.
14               Room 6139
15               Washington, D.C. 20001
16               (202)353-4556
17               By:   Martin M. Tomlinson, Esq.
18                     martin.m.tomlinson@usdoj.gov
19
20
21
22
23
24
25


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                                                                             Page 4
 1   (Appearances continued)
 2   ON BEHALF OF DEFENDANT-INTERVENOR:
 3               Gibson Dunn & Crutcher
 4               1881 Page Mill Road
 5               Palo Alto, California 94304
 6               (650)849-5384
 7               By:   Robert E. Dunn, Esq.
 8                     rdunn@gibsondunn.com
 9   ALSO PRESENT:
10               Jeffrey Moon, USCCB
11               Meagan Burrows, ACLU
12               Llewellyn Woolford, Jr., HHS
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                                                                             Page 8
 1                       P R O C E E D I N G S
 2                        HILARY L. CHESTER,
 3           having been first duly sworn, testified
 4           upon her oath as follows:
 5               EXAMINATION BY COUNSEL FOR PLAINTIFF
 6   BY MS. AMIRI:
 7           Q      Could you please state your name for the
 8   record?
 9           A      Hilary Chester.
10           Q      My name is Brigitte Amiri.      I'm one of
11   the attorneys representing the plaintiff in this
12   case.       Thank you so much for making the time to be
13   here today.
14                  I just wanted to start by marking as
15   Exhibit 1.
16                       (Exhibit 1 was marked for
17                       identification.)
18   BY MS. AMIRI:
19           Q      I'm going to hand you what I've just
20   marked as Exhibit 1.       I'm sorry.     I have copies of
21   everything else, but this is just the deposition
22   notice, and I just wanted you to take a look at it
23   and turn to the next page, which delineates the
24   topics that we had requested USCCB to appear today
25   to discuss, and I just wanted to clarify what


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                                                                         Page 10
 1   own look at those documents?
 2        A      They were selected by counsel.
 3        Q      Can you talk a little bit about your
 4   role at USCCB, your job title, your position, your
 5   responsibilities?
 6        A      Sure.    I'm the associate director for
 7   anti-trafficking programs, and so I oversee,
 8   manage and administer all of our programs related
 9   to anti-trafficking.
10        Q      And how long have you been at USCCB?
11        A      A total of nine years.
12        Q      During that time have you always been
13   involved in the trafficking program, or have you
14   moved to different areas of the organization?
15        A      I had one prior position before moving
16   to the trafficking program.
17        Q      And what was that position?
18        A      I was the assistant director for family
19   reunification services and Children's Services.
20        Q      And was that related to unaccompanied
21   immigrant minor reunification?
22        A      Yes.
23        Q      About what time period did you hold that
24   position?
25        A      2008 to 2010.


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                                                                         Page 11
 1        Q       Could you start by giving a scope of the
 2   current trafficking program that USCCB has a
 3   contract with the federal government to
 4   administer, generally the geographic scope, the
 5   number of subgrantees.        We can talk a little bit
 6   more, but just to kind of paint the picture a
 7   little bit about the program, because I think that
 8   that overview might be a little helpful as we go
 9   into some of the deeper questions.
10        A       Is this just limited to the HHS
11   trafficking program?
12        Q       Yes.
13        A       It's a national program with three
14   different national grantees.         We are one of those
15   grantees.     We are the primary grantee for HHS
16   Regions 3 and 6, but we have some providers in
17   other states as well.       Similarly, the other
18   grantees also have subproviders in our regions.
19                We propose and hope to serve about 200
20   individuals each fiscal year.         We provide basic
21   case management services through subgrantees that
22   are operating at the local level and have the
23   direct contact.
24        Q       And I should have stated this at the
25   beginning.


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                                                                         Page 12
 1               If at any time you need a break, just
 2   let me know, and I'll ask that you finish the
 3   question that's posed before we take a break.
 4               If you don't understand a question I've
 5   asked, feel free to ask me to clarify it, tell me
 6   you don't understand it.
 7               If your attorney objects, unless he
 8   instructs you not to answer it, feel free to
 9   answer the question.
10               I'm sorry I forgot to go over that in
11   the beginning.
12               So in terms of the geographic scope, I
13   think you said it's regions 3 and 6; is that
14   right?
15        A      Yes.
16        Q      What states does that comprise?
17        A      New Mexico, Oklahoma, Texas, and then
18   West Virginia, Virginia, Pennsylvania, Maryland,
19   Delaware, I believe.
20        Q      And does that mean that USCCB, in their
21   contract with HHS, only provides services in those
22   states?
23        A      No.
24        Q      What other states do they provide
25   services in?


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                                                                         Page 48
 1   the time that the award is made -- and a victim
 2   isn't necessarily identified, are you having
 3   conversations with entities that were your
 4   subrecipients in the prior trafficking program or
 5   other entities that you have had conversations
 6   with about wanting to participate as subrecipients
 7   in the 2015 program?
 8               I'm just trying to figure out kind of
 9   how you figured out who to be talking to for the
10   subrecipient's MOUs.
11        A      Sure.
12               We have been promoting, and prior to
13   being awarded, we reached out to some of our
14   refugee resettlement providers, some of our
15   Children's Services providers, and then once we
16   were awarded, we went back out to that same -- at
17   least those two networks, seeing if any of those
18   agencies wanted to come on board with this program
19   as well as the other ones they were already
20   implementing for us.
21        Q      And during that selection process and
22   throughout the subgranting process, was USCCB only
23   talking to and selecting subrecipients that shared
24   USCCB's religious opposition to abortion and
25   contraception?


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                                                                         Page 49
 1        A      We were working through our existing
 2   partners, and so we were working with
 3   organizations that we already have ongoing
 4   relationships with, implementing other programs.
 5        Q      In the context of the application
 6   process, though, I believe at one point there is
 7   mention of "our subrecipients will share our same
 8   position on abortion and contraception, so
 9   therefore we won't be imposing any belief system
10   on our subrecipients," so I believe that's in the
11   email exchange from September.
12               Do you recall that?
13        A      Yes.   That's correct.
14        Q      So in the execution of this grant, was
15   USCCB following that essentially?
16        A      Yes.
17        Q      Okay, and did the federal government
18   know that USCCB was executing the contract in a
19   way by selecting subrecipients that shared the
20   same Catholic social teachings?
21        A      I wouldn't say that they all share the
22   same Catholic social teachings, because they are
23   not all Catholic providers.
24               The government was aware that we were
25   working with our existing providers that we


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                                                                         Page 50
 1   already had ongoing working relationships with,
 2   because we are not vetting new unknown providers,
 3   we're working with our known networks and networks
 4   that are already in alignment and in agreement
 5   with working with us in these implementing
 6   programs with clients on the ground.
 7               So I think it's fair to say that they
 8   understood that we were using our existing
 9   networks, which are quite extensive.
10        Q      And when you're talking about existing
11   networks, I'm assuming, though, that you're not
12   referring to the 2006 trafficking program where
13   USCCB was the sole grantee and there was a network
14   of entities that were quite diverse in terms of
15   their religious affiliation and beliefs about
16   contraception and abortion.
17               That's not the network you're talking
18   about?
19        A      Correct.
20        Q      So when you're talking about "existing
21   network," what are we looking to in terms of
22   existing network?
23        A      So we have multiple refugee resettlement
24   programs, and that's one network.           We have
25   children services programs that implement foster


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                                                                         Page 51
 1   care, that implement family reunification or
 2   post-release services.        So those are two
 3   additional networks that we are working with.
 4        Q      At any time during the post-award phase
 5   until present, has there ever been an entity that
 6   has approached USCCB and asked to be a
 7   subrecipient that has not shared the USCCB's
 8   position on abortion or contraception?
 9        A      We have had organizations that have
10   asked to be one of our subrecipients.            In some
11   cases they were already subrecipients with one of
12   the other national grantees, and so we advised
13   that they stay with that grantee, because we don't
14   have to be exclusive regionally; and then in
15   another one instance that I can think of, we
16   referred them to USCRI, which is one of the other
17   national grantees, because they were a secular
18   organization.
19        Q      Do you know if there are differences in
20   the programs between USCCB and Tapestry and USCRI
21   in terms of, for example, the amount of
22   reimbursement for a survivor?
23        A      We do have different reimbursement rates
24   across the three grantees, yes.
25        Q      Do you know what the varying levels are?


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 1   with us, and I know the director of the program.
 2   We're professional colleagues and maybe friends,
 3   and so I think that was part of the interest, but
 4   I wouldn't call it double-dipping, though.
 5        Q      So for some trafficking survivors, they
 6   would come to USCCB; for others, they might go to
 7   USCRI?
 8        A      That was what they pictured.          It's not
 9   possible.
10        Q      Okay, and I believe you mentioned before
11   there's no geographic limitation on services, so
12   even though you, USCCB, have regions 3 and 6,
13   there isn't any sort of limitation on USCCB to
14   only serve trafficking survivors in those
15   geographic regions; is that fair?
16        A      That's right, yes.
17        Q      And is there any sort of restriction on
18   having only subgrantees in those particular
19   regions?
20        A      No.
21        Q      So you, USCCB, can have subgrantees
22   across the country?
23        A      Yes.
24        Q      Do you, in fact, have subgrantees across
25   the country?


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                                                                         Page 56
 1        A      We do.    I believe we are present in --
 2   and I don't know the exact number, but 18 to 20
 3   different states, I believe.
 4        Q      Do you know whether USCCB had a
 5   conversation with HHS about the secular
 6   organization that approached USCCB to be a
 7   subrecipient or the other organizations that
 8   wanted to work with both USCCB and USCRI?
 9        A      I didn't have a conversation with anyone
10   at HHS about that.
11        Q      Do you know whether anyone at USCCB did?
12        A      No.
13        Q      Do you remember the names of both of the
14   organizations?
15        A      I remember the one that is the current
16   subrecipient of USCRI.
17        Q      And what is that organization?
18        A      It's YMCA International in Houston.
19        Q      And you don't remember the secular
20   organization that approached USCCB and asked to
21   work with USCCB?
22        A      I believe it was Boat People SOS, but
23   I'm not 100 percent sure.
24                     MS. AMIRI:     We're going to move to
25        Exhibit 12.


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                                                                         Page 57
 1                      (Exhibit 12 was marked for
 2                      identification.)
 3   BY MS. AMIRI:
 4        Q      Again, this might be a draft.          We got
 5   multiple versions of this.         Take a look and see if
 6   that reflects the MOU that you sent to
 7   subrecipients.
 8                      (Witness peruses document.)
 9                      THE WITNESS:     Okay.
10   BY MS. AMIRI:
11        Q      Is what's been marked as Exhibit 12 the
12   Memorandum of Understanding between USCCB and
13   subrecipients?      I know it's not a completed
14   version, but is that the version that gets
15   completed and sent to subrecipients?
16        A      This is the version I believe that we
17   submitted as an attachment to our proposal in
18   response to the funding opportunity announcement.
19        Q      Was this the version that was approved
20   by HHS?
21        A      It was the version that we were
22   negotiating over.
23        Q      So were there conversations between
24   USCCB and HHS about the language in the MOU?
25        A      Yes.


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 1   initial screenings and more comprehensive health,
 2   and so it's a little bit more preventive in scope
 3   than taking clients that don't have access to
 4   that, just for serving whatever medical needs they
 5   may have.
 6                Some clients, depending on the state
 7   again, are eligible for health insurance through
 8   the Affordable Care Act or Medicaid, and so then
 9   in those cases, the case manager would attempt to
10   also enroll them in those programs.
11           Q    Do you know approximately how many
12   trafficking survivors that USCCB, through its
13   subrecipients, serve are precertified versus
14   certified?
15           A    I believe we have about a 60/40 mix.
16   I'm not 100 percent sure, but 60 percent are
17   precertified, about 40 percent are certified.
18           Q    Do you know how many survivors were
19   served in the first fiscal year of the program by
20   USCCB?
21           A    I believe we served about 100, 105.
22           Q    When does the fiscal year end; do you
23   know?
24           A    The federal fiscal year generally ends
25   September 29th or 30th.


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                                                                         Page 67
 1           Q   So USCCB has started its -- you're now
 2   in the beginning of your third year of the
 3   program, if I'm doing the math right.
 4           A   So we are in the third year of the
 5   financial fiscal year of the project.            We had to
 6   start the project, the third project year back on
 7   June 1 as a result of some funding and enrollment
 8   issues that all three of the grantees were having,
 9   so we prematurely ended the project year and
10   started a new one.
11           Q   How long is the program supposed to go
12   in terms of the funding will continue for how
13   long?
14           A   36 months.
15           Q   36 months total?       Okay.    So we talked
16   about in the first fiscal year serving about 100
17   trafficking survivors.        Do you know how many
18   trafficking survivors were served in the second
19   fiscal year?
20           A   So that one I want to say -- I don't
21   know these numbers perfectly -- we were much
22   closer to almost our 200 target, but again we
23   ended it in June, so we ended early.
24           Q   So going back to kind of the real-life
25   experience of a trafficking survivor who comes to


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 1   a subrecipient who is in need of medical care, and
 2   let's say in the context of an abortion.             A
 3   trafficking survivor says to one of your
 4   subrecipients, I am pregnant and I would like to
 5   have an abortion.
 6               What is your understanding of -- or what
 7   does USCCB tell its subrecipient it should do in
 8   that context in response?
 9        A      That they need to refer and redirect
10   that client to the medical provider that they have
11   already connected the client with, or if this is
12   like during the very first meeting, it's probably
13   unlikely for them to disclose something so
14   personal, but they will be connecting the clients
15   to a medical provider, and they would redirect and
16   instruct the client that something medical needs
17   to be discussed with a medical provider,
18   maintaining that kind of confidentiality.
19        Q      Do you know if that's the same response
20   if, for example, the woman says I'm pregnant and I
21   would like to carry my pregnancy to term, and I
22   need to know what to do in terms of proper
23   prenatal care?
24        A      Yes.   Again, it would be referred to a
25   medical provider to then make those kind of


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 1   specialist referrals, presumably.
 2        Q      Does the subrecipient provide
 3   transportation for the trafficking survivor to the
 4   doctor's appointment in general for medical care?
 5        A      In some cases, not in all cases.           The
 6   program is, is more intense in that there is more
 7   direct contact with the clients that are in the
 8   more high-level category, but many of the clients
 9   are already independent and relatively mobile on
10   their own, independently navigating, so it really
11   varies client to client.
12        Q      And in terms of payment for the medical
13   procedure, you talked about the various potential
14   pots of money or insurance or free clinics.             For
15   something like contraception, which would be
16   covered in the Medicaid program, for example, but
17   perhaps not something that can be reimbursed by
18   the subrecipient, per the program operations
19   manual -- well, first let me ask that question.
20               Can subrecipients use money that it
21   receives from USCCB to pay for contraception for
22   trafficking survivors?
23        A      Technically they would be following
24   their own internal agency's policies about whether
25   or not they make those kinds of direct referrals


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                                                                         Page 70
 1   where they are interjecting themselves that
 2   directly, if that makes sense.
 3        Q      I think my question is more about
 4   payments.     Maybe we can turn to page 50 of the
 5   program operations manual, which is Bates 301, and
 6   this is a chart of allowable and unallowable
 7   costs, and on the "Unallowable" column for the
 8   "Health Care" row, it says "abortion
 9   counseling/services" and "abortive prescriptions"
10   are unallowable.      I didn't know if that would
11   include contraception.
12        A      All forms of contraception?
13        Q      Yes.   Let's say -- well, if it matters,
14   I mean we can kind of go through each one, but if
15   a trafficking survivor says that she was on birth
16   control and wanted to continue to be on birth
17   control and needed money from the subrecipient to
18   pay for that, would that be an unallowable cost in
19   this chart?
20        A      Not in this chart, no.        In practice, the
21   clients in some cases are reimbursed, for example.
22   In most cases, what the clients will do is receive
23   some kind of an invoice or a bill from a medical
24   provider, and that is turned over to the agency
25   which makes the payment.


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 1               And so in our experience, the level of
 2   detail is not that refined, and so if a client
 3   goes and gets glasses at WalMart, in some cases
 4   they pay for that with a WalMart gift cart.             In
 5   other cases, they may receive a bill, and that's
 6   just turned over, and then the payment is made
 7   directly to the medical provider.
 8               And so the clients are not fronting
 9   money themselves up front.         We're not handing
10   money to them unless it's something like a WalMart
11   Vision Center where they can be given a gift card,
12   but if the client is charged for medical service,
13   then they are given that bill, the bill is turned
14   in to the agency, who in turn makes the payment.
15        Q      Do you -- meaning USCCB -- have
16   communications on a regular basis with your
17   subrecipients about what types of requests are
18   made from the trafficking survivor to the
19   subrecipient about abortion and contraception?
20        A      We actually haven't had questions about
21   those procedures specifically from the
22   subproviders referencing any specific clients.
23        Q      So there hasn't been a subrecipient who
24   has come to USCCB and said I'm not sure if I can
25   pay for this pack of birth control pills or this


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                                                                         Page 72
 1   Depo-Provera shot, you know, is that something
 2   that's allowable under the costs?           Have you even
 3   had those types of conversations?
 4        A      We have not.
 5        Q      Okay.    Do you know what the experience
 6   is on the ground for a trafficking survivor who
 7   then is referred to her initial healthcare
 8   provider but then might need specialized care?
 9   For example, in the abortion context, do you know
10   whether the healthcare provider that she has seen
11   then has referred to an abortion clinic, for
12   example?
13        A      I don't know about that.
14        Q      So there's no report back from the
15   subrecipient about the types of referrals that are
16   made by the medical facility that has done the
17   initial screening or seen the woman?
18        A      That's correct, and in practice I
19   wouldn't imagine that a medical provider would be
20   reporting back somehow to our case managers about
21   referrals that they're making for treatment
22   either.
23        Q      Has there been any discussion from
24   subrecipients to USCCB about transportation to an
25   abortion clinic or Planned Parenthood and


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                                                                         Page 73
 1   questions about whether that transportation could
 2   be paid for?
 3        A      We've never had that come up, no.
 4        Q      Is it USCCB's position that it would
 5   prohibit its subrecipients for paying for
 6   transportation to an abortion clinic for the
 7   purposes of an abortion?
 8        A      We provide things like bus passes to
 9   clients.    Clients are given some spending money
10   specifically for things like transportation, and
11   how they spend that would be their decision, and
12   so would we explicitly pay?         I don't know that we
13   would know that.
14        Q      But that hasn't come up in terms of a
15   conversation between a subrecipient and USCCB?
16        A      No.
17        Q      Do you know if USCCB has had any
18   conversations with HHS, post-award, about abortion
19   or contraception?
20        A      We had to explain the alternative
21   approach to the new incoming staff who were new to
22   the OTIP office.      There's a new deputy director,
23   and we have a new project officer, and so there
24   were new staff that were not around when we were
25   having the initial negotiations during the


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 1   their feedback, and then, when they approved the
 2   version, we began implementing it in our TVAP
 3   program for our clients.
 4        Q       So did you send the draft that's been
 5   marked as Exhibit 16 to HHS for its feedback?
 6        A       Yes.
 7        Q       And what did HHS say in response after
 8   they received the draft?
 9        A       The only issue that we, that we were all
10   unsure about was who would need to be notified if
11   the individual client were to request a change in
12   provider, because there seemed to be -- it seemed
13   to be implied that in addition to just the local
14   people making a referral to another program, that
15   there needed to be a notification that this was
16   happening.
17                So it wasn't clear whether I should be
18   the person as the main point of contact or if it
19   should be HHS, and we just went back and forth
20   with them, and ultimately I believe it's us that
21   are the person notified -- the entity notified.
22   That was the only question.
23        Q       So at some point then, the final version
24   is Exhibit 17; is that fair?
25        A       Yes.


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                                                                         Page 81
 1           Q      And how did USCCB then operationalize
 2   this?       Did you send the final version to your
 3   subrecipients and ask them to present it to the
 4   individuals that they serve?
 5           A      So we sent it out to all the
 6   subproviders and asked them to not only use it
 7   going forward with new clients that were enrolled
 8   in the program but to also meet and provide this
 9   to all the existing open cases and have them sign
10   it as well.
11           Q      And in the life of this award for the
12   Trafficking Victims Assistance Program, the TVAP,
13   have you received any written notices back by a
14   beneficiary that has requested a referral?
15           A      No, we haven't.
16           Q      If you did, what would that mean in
17   practice?       If someone did send this to you, and
18   she was a trafficking survivor, what would happen
19   in terms of her care?
20           A      We would reach out to one of the other
21   national grantees to see if they had a provider in
22   the area who would be able to transfer -- we could
23   transfer the case to, or if they would be able to
24   then provide another provider, if they could bring
25   on board another provider in the area to provide


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 1   those services.
 2               I know that we have, in practice,
 3   several of our subproviders as well as the other
 4   grantees' subproviders have done remote case
 5   management.    So it is also possible that a
 6   provider not in the direct local proximity would
 7   be able to also serve that individual, and so if
 8   one of the other two grantees had a provider
 9   within a reasonable distance, then they would be
10   able to take the case and provide services going
11   forward.
12        Q      Do you have a sense of how often it is
13   that there is, there are multiple providers
14   working with different grantees in a particular
15   region?    So for example, in a particular state, is
16   it that there are multiple providers providing
17   services to trafficking survivors, some of which
18   get their reimbursement from USCCB, others from
19   Tapestry or USCRI?
20        A      So that's certainly the case in Atlanta,
21   it's the case in Houston, it's the case in Los
22   Angeles, it's the case in the sort of wider New
23   York City area.      It happens in larger suburban
24   metropolitan areas where there are both a lot of
25   different organizations that are capable of


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 1   providing these kinds of services and relatively
 2   high numbers of survivors that need the services.
 3        Q      Do you know in what areas there is only
 4   a provider that is associated with USCCB?
 5        A      I couldn't answer that very accurately
 6   without looking at our map, at the other two
 7   grantees' maps, to be honest.
 8        Q      But do you think it's accurate to say
 9   that there are some locations where USCCB is the
10   only -- where a USCCB subrecipient is the only
11   provider of services for trafficking survivors?
12        A      Yes.
13                      MS. AMIRI:    So we're going to mark
14        as Exhibit 18 a memorandum.
15                      (Exhibit 18 was marked for
16                      identification.)
17   BY MS. AMIRI:
18        Q      I decided not to ask you any questions
19   about Exhibit 18.      I'll strike that and say we
20   marked as Exhibit 18 a document which -- I'm not
21   exactly sure who generated it, but I'll show it to
22   you, and I think it's largely about the Safe
23   Passages program, but there is a mention of
24   trafficking in it on Bates 2310, so I just wanted
25   to ask you questions about the trafficking


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                                                                         Page 92
 1          A       Yes.
 2          Q       Were there conversations with HHS about
 3   USCCB's position about assisting same-sex couples
 4   who sought T visas?
 5          A       I don't recall having like telephone
 6   conversations about that.        Any communication would
 7   have been through email.
 8          Q       Do you know what the final resolution
 9   was?       Did HHS say that USCCB and its subrecipients
10   did not have to provide assistance to same-sex
11   couples who are seeking T visas?
12          A       My understanding, based on our written
13   text in the proposal and in our guidance to
14   subrecipients, is that the assistance isn't --
15   it's not that we would not serve individuals who
16   are seeking a T visa and are in a same-sex
17   marriage; it's that we would not assist them in
18   applying specifically for that T visa.            I think
19   that's two different -- it's two things.             There's
20   a distinction.
21          Q       Was this a conversation that you had
22   making that distinction with HHS?           Did you have a
23   conversation with HHS about this?
24          A       I think we made the distinction clear
25   that we would certainly assist individuals if they


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                                                                         Page 93
 1   were in a same-sex marriage and were pursuing a
 2   T visa.   What we would not do is assist literally
 3   with the application of the T visa in order to
 4   then have the derivative status for that spouse.
 5        Q      And did HHS at any time, verbally or in
 6   writing, say that it would be acceptable for USCCB
 7   and its subrecipients to refrain from assisting
 8   the same-sex partner with the application for the
 9   T visa?
10        A      I don't recall that they wrote back or
11   communicated anything that that was acceptable;
12   rather, that they did approve the language that we
13   provided in the footnotes in our documents.
14        Q      Before, when we were talking about the
15   secular organization, Boat People SOS, that had
16   asked to be a subrecipient of USCCB, and USCCB
17   referred them to USCRI, and you may have said
18   this -- and forgive me if you did, but the reason
19   why USCCB referred them to USCRI rather than
20   taking them on as a subrecipient, was it because
21   Boat People SOS did not share USCCB's religious
22   beliefs with respect to abortion and
23   contraception?
24        A      I think it's a bigger decision, a bigger
25   program design that we were following in this 2015


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                                                                         Page 94
 1   forward version of the Trafficking Victim
 2   Assistance Program.       We have a very small national
 3   staff, with a much smaller range of activities
 4   that we are doing at the national office versus
 5   under the contract.
 6               Under the contract, as the sole provider
 7   for the whole country, we had to be able to be
 8   responsive across the country, and that required
 9   quite a bit of staffing to proactively and
10   reactively find new providers.
11               We were working with organizations that
12   we had no prior knowledge of that were just Google
13   searching, and that required a level of vetting, a
14   level of financial vetting, a level of their
15   capacity.
16               Under this current program, we have a
17   much smaller staff.       It's a much smaller budget,
18   and in order to pass through the maximum funds to
19   the subproviders and for clients, we have really
20   reduced what we do at the national office.
21               And so part of the decision is very
22   practical, which is that we only want to work with
23   organizations that we've already done all of that
24   vetting and done all of that assessment of their
25   capacity and their ability to provide quality


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                                                                         Page 95
 1   services for this specific population.
 2               And then also there is a comfort level,
 3   and there is an assurance that by selecting people
 4   that are already in agreements with us for other
 5   programs, that they will be operating our program
 6   in a way that we are comfortable with.
 7        Q      When you say "that we are comfortable
 8   with," do you specifically mean with respect to
 9   the religious beliefs as they pertain to abortion
10   and contraception?
11        A      As one area, certainly.
12        Q      And with Boat People SOS, USCCB did have
13   them as a subcontractor in the 2006 contract,
14   correct?
15        A      Yes.
16        Q      So USCCB in that circumstance did
17   already do the vetting with Boat People SOS and
18   were familiar with their services?
19        A      I would say relatively.         I think it's,
20   it is relevant, it is significant that that was --
21   that contract ended in 2010, which is five to six
22   years ago, and I think that that makes a
23   difference and that we would still want to vet an
24   organization that we weren't currently working
25   with if they were five, six years beyond when we


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                                                                         Page 96
 1   had a working relationship with them.
 2        Q       So with some of the subrecipients that
 3   USCCB is currently working with now, were some of
 4   them new to USCCB's network, and you had to do
 5   that vetting process with them?
 6        A       We have some sub-offices of existing
 7   partners, and so in some cases a sub-office of an
 8   existing Catholic Charities or Bethany Christian
 9   Services or some organization is coming on board
10   that perhaps hadn't done the resettlement for
11   Children's Services, but there's an existing
12   relationship with that parent agency that we do
13   have agreements with.
14                     MS. AMIRI:     I think I'm almost
15        done, if we can take two minutes.
16                     (Whereupon, a short recess was
17                     taken.)
18                     MS. AMIRI:     I don't have anything
19        further.
20    EXAMINATION BY COUNSEL FOR DEPARTMENT OF JUSTICE
21   BY MR. TOMLINSON:
22        Q       Dr. Chester, my name is Martin
23   Tomlinson.     I work for the Department of Justice.
24   I'm representing the government in this matter.              I
25   just have a few questions for you.


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                                                                         Page 97
 1               Please let me know if you don't
 2   understand anything and need me to reword
 3   something or ask something again.
 4               I want to ask you just a few questions
 5   about the 2015 TVAP grant that was awarded to
 6   USCCB from HHS.      Is it okay if I just call it "the
 7   grant" for the purposes of our questions?             Will
 8   you know what I'm talking about, or would you
 9   prefer me to use some other terminology?
10        A      No, that's fine.
11        Q      Okay.
12               Does USCCB use any funds from the grant
13   to promote Catholicism?
14        A      No.
15        Q      Does USCCB use any funds from the grant
16   for proselytization?
17        A      No.
18        Q      Does USCCB use any funds from the grant
19   for religious education purposes?
20        A      It is possible for a case manager,
21   during the time that they are spending with the
22   client, which would be presumably covered by the
23   funds for the administrative reimbursement, to
24   make referrals to a client's preferred religious
25   organization or faith community for something like


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                                                                        Page 115
 1
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 4
 5
 6                  ACKNOWLEDGEMENT OF WITNESS
 7                     I, Hilary L. Chester, do hereby
 8        acknowledge that I have read and examined the
 9        foregoing testimony, and the same is a true,
10        correct and complete transcription of the
11        testimony given by me, and any corrections
12        appear on the attached Errata sheet signed by
13        me.
14
15
16   __________________ ______________________________
17   (DATE)                 (SIGNATURE)
18
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                                                                        Page 117
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 4
 5   CERTIFICATE OF SHORTHAND REPORTER -- NOTARY PUBLIC
 6                  I, Laurie Donovan, Registered
          Professional Reporter, Certified Realtime
 7        Reporter, the officer before whom the
          foregoing deposition was taken, do hereby
 8        certify that the foregoing transcript is a
          true and correct record of the testimony
 9        given; that said testimony was taken by me
          stenographically and thereafter reduced to
10        typewriting under my supervision; and that I
          am neither counsel for, related to, nor
11        employed by any of the parties to this case
          and have no interest, financial or otherwise,
12        in its outcome.
13                  IN WITNESS WHEREOF, I have hereunto
          set my hand and affixed my notarial seal this
14        27th day of November, 2017.
15        My commission expires:         March 14th, 2021
16
17
18   _____________________________
19   LAURIE DONOVAN
     NOTARY PUBLIC IN AND FOR
20   THE DISTRICT OF COLUMBIA
21
22
23
24
25


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                  Exhibit F
                Deposition of Scott Lloyd
                    (Dec. 18, 2017)
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                                                                        Page 1
         IN THE UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA
               San Francisco Division
- - - - - - - - - - - - - -+
                           |
AMERICAN CIVIL LIBERTIES   |
UNION OF NORTHERN          |
CALIFORNIA,                |
                           |
          Plaintiff,       |          Case Number:
                           |
  vs.                      |          3:16-cv-3539-LB
                           |
ERIC G. HARGAN, Acting     |
Secretary of Health and    |
Human Services, et al,     |
                           |
          Defendants,      |
                           |
U.S. CONFERENCE OF         |
CATHOLIC BISHOPS,          |
                           |
   Defendant-Intervenor.   |
                           |
- - - - - - - - - - - - - -+

    Videotaped Deposition of Scott Lloyd, Esq.
                     Washington, D.C.
        Monday, December 18, 2017 - 12:10 p.m.




Reported by:
Laurie Donovan, RPR, CRR, CSR
Job no: 20317


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                                                                             Page 2
 1                    Videotaped Deposition of
 2                      SCOTT LLOYD, ESQ.
 3
 4   Held at the offices of:
 5               U.S. Department of Justice
 6               20 Massachusetts Avenue, N.W.
 7               Room 6139
 8               Washington, D.C. 20001
 9               (202)353-4556
10
11
12
13
14
15
16
17                     Taken pursuant to notice, before
18        Laurie Donovan, Registered Professional
19        Reporter, Certified Realtime Reporter, and
20        Notary public in and for the District of
21        Columbia.
22
23
24
25


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                                                                             Page 3
 1                     A P P E A R A N C E S
 2   ON BEHALF OF PLAINTIFF AMERICAN CIVIL LIBERTIES
 3   UNION OF NORTHERN CALIFORNIA:
 4               ACLU Foundation
 5               125 Broad Street
 6               New York, New York 10004
 7               (212)519-7897
 8               By:   Brigitte Amiri, Esq.
 9                     bamiri@aclu.org
10                     Meagan Burrows, Esq.
11                     mburrows@aclu.org
12   ON BEHALF OF THE DEFENDANT-INTERVENOR USCCB:
13               Gibson, Dunn & Crutcher, LLP
14               333 South Grand Avenue
15               Los Angeles, California 90071
16               (213)229-7000
17               By:   Daniel Nowicki, Esq.
18                     dnowicki@gibsondunn.com
19                     Robert Dunn, Esq. (phone)
20                     rdunn@gibsondunn.com
21
22
23
24
25


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                                                                             Page 4
 1   (Appearances continued)
 2   ON BEHALF OF OFFICIAL CAPACITY FEDERAL DEFENDANTS
 3   ERIC G. HARGAN AND DEPARTMENT OF HEALTH AND HUMAN
 4   SERVICES:
 5               U.S. Department of Justice
 6               20 Massachusetts Avenue, N.W.
 7               Room 6139
 8               Washington, D.C. 20001
 9               (202)353-4556
10               By:   Martin M. Tomlinson, Esq.
11                     martin.m.tomlinson@usdoj.gov
12                     Peter J. Phipps, Esq.
13                     peter.phipps@usdoj.gov
14   ALSO PRESENT:
15               Martin Sherrill, Videographer
16               Llewellyn Woolford, Esq. (HHS)
17               Caitlin Palacios, Esq. (HHS)
18               Jeffrey Hunter Moon, Esq. (USCCB)
19               Rachel Chrisinger, paralegal
20
21
22
23
24
25


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                                                                           Page 9
 1                   P R O C E E D I N G S
 2                   THE VIDEOGRAPHER:       This is tape
 3      number 1 of the video deposition of Scott
 4      Lloyd in the matter of ACLU of Northern
 5      California versus Burwell.          This deposition
 6      is being held at 20 Massachusetts Avenue,
 7      Northwest, Washington, D.C., at approximately
 8      12:10 on December 18, 2017.
 9                   My name is Martin Sherrill from the
10      firm of TransPerfect Video, and I'm the video
11      legal specialist.        The court reporter today
12      is Laurie Donovan in association with
13      TransPerfect Video.
14                   Would counsel please introduce
15      themselves.
16                   MS. AMIRI:     Brigitte Amiri for the
17      plaintiff.
18                   MS. BURROWS:      Meagan Burrows for
19      the plaintiff.
20                   MR. NOWICKI:      Daniel Nowicki for
21      the defendant-intervenor USCCB.
22                   MR. MOON:     Jeffrey Moon for
23      defendant-intervenor.
24                   MR. PHIPPS:      Peter Phipps for the
25      official capacity federal defendants.


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                                                                         Page 10
 1                     MR. TOMLINSON:      Martin Tomlinson
 2        for the official capacity federal defendants.
 3                     MR. WOOLFORD:      Llewellyn Woolford
 4        for the defendant U.S. Department of Health
 5        and Human Services.
 6                     MS. PALACIOS:      Caitlin Palacios for
 7        defendant U.S. Department of Health and Human
 8        Services.
 9                     MS. CHRISINGER:       Rachel Chrisinger
10        with the official capacity federal
11        defendants.
12                     THE VIDEOGRAPHER:       Will the court
13        reporter please swear in the witness.
14                     SCOTT LLOYD, ESQUIRE,
15        having been first duly sworn, testified
16        upon his oath as follows:
17            EXAMINATION BY COUNSEL FOR PLAINTIFF
18   BY MS. AMIRI:
19        Q      Good afternoon, Mr. Lloyd.         Thank you
20   for taking the time to be here today.
21               Other than speaking with your attorneys,
22   what did you do to prepare for today's deposition?
23        A      Just thought about the subject matter.
24        Q      Did you review any documents that were
25   not provided to you by counsel?


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                                                                         Page 59
 1        Q      Yes.
 2        A      It's similar, similar language to what
 3   you find in the Preamble to PREA --
 4        Q      Okay.
 5        A      -- regarding religious accommodations.
 6        Q      Okay.
 7               Have you personally been involved in
 8   placement decisions related to a minor who is
 9   seeking an abortion and a placement decision that
10   was affected by whether a grantee had a religious
11   objection to abortion or contraception?
12        A      No.
13        Q      Have you been involved in any individual
14   minor's circumstances where she has requested an
15   abortion and needed to be transferred because the
16   grantee where she was residing had a religious
17   objection to providing access to abortion?
18        A      I'm sorry.     Could you -- I missed the
19   first part.
20        Q      Yes.
21               Have you personally been involved in the
22   decision to transfer a minor out of a religiously
23   affiliated shelter that has a religious objection
24   to abortion to another facility because she
25   requested an abortion?


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                                                                         Page 60
 1        A      No.
 2        Q      Do you know whether, since your time at
 3   ORR, that has happened, that a minor has requested
 4   an abortion at a religiously affiliated shelter
 5   and has been transferred to a shelter that doesn't
 6   have a religious objection to abortion?
 7        A      I don't recall.
 8        Q      Can you walk me through how it works
 9   when a minor requests an abortion at ORR.
10        A      All of our UACs receive routine medical
11   services and also regular clinical intervention
12   counseling services, both on an individual and
13   group basis, and there's just counseling or
14   clinical services available generally.
15               And so at some point it's raised to
16   either -- oftentimes a UAC will find out she's
17   pregnant during a, during the initial medical exam
18   or will have known and will disclose it at some
19   point during the initial process.           Usually it
20   happens by one of those two means, by
21   self-disclosure or discovering it during the
22   initial medical exam.
23        Q      And let's say then the minor requests an
24   abortion to her doctor or the grantee.            Then what
25   happens?


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                                                                         Page 61
 1        A      Then, then it would be essentially
 2   through the medical staff -- I was about to say
 3   staff.   Through the grantee medical staff, it
 4   would go to ORR medical staff, sometimes perhaps
 5   through federal field staff who aren't necessarily
 6   medical personnel, and then would go through our
 7   medical department, DHUC, Division of Health for
 8   Unaccompanied Children.        Sometimes directly to me,
 9   with Jonathan White copied, or sometimes through
10   Jonathan White to me.
11        Q      And when you talk about how this comes
12   through, is it through a Significant Incident
13   Report or some other mechanism?
14        A      It's, it's, it's more through -- a
15   Significant Incident Report may trigger it, or it
16   could be a less formal means of communication.              It
17   usually wouldn't come to me in the form of a
18   Significant Incident Report.         It would be more of
19   an email, usually, either from Michael Bartholomew
20   or Jonathan White.
21        Q      And when you get the request for an
22   abortion, what is your role at that point?
23        A      To, to gather information.
24        Q      And how do you do that?
25        A      I read the record that's provided, and


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                                                                         Page 62
 1   if there's anything that needs to be further
 2   developed, I'll, I'll request that information.
 3        Q      What would be an example of something
 4   that needs to be further developed?
 5        A      Oh, you know, sometimes the, the nature
 6   of the relationship that gave rise to pregnancy,
 7   prospects for sponsorship, any medical conditions,
 8   how far along she is in the pregnancy.            It could
 9   be, could be any of those factors.
10        Q      Why does the manner in which she became
11   pregnant affect your analysis?
12        A      It's just the number of -- it's one
13   among the many potentially relevant facts.
14   It's -- we, we are seeking to understand the
15   totality of the circumstances, and so I guess it
16   goes to the totality of the circumstances,
17   understanding that.
18        Q      To, to what end?       To make the final
19   determination of whether to approve the abortion?
20        A      Yeah, I mean that would be -- it would
21   be a piece of information we would need to know to
22   make that determination.
23        Q      Is there a difference in your mind of
24   whether a minor is pregnant as a result of rape or
25   if she's not in terms of whether she may be


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                                                                         Page 63
 1   granted the permission to have the abortion?
 2        A      There, there is a difference.
 3        Q      And why is that?
 4        A      It's just from the 2008 policy, it
 5   treats the two differently.
 6        Q      Does it treat the two differently with
 7   respect to the substantive decision about whether
 8   she can have the abortion or with respect to
 9   funding?
10        A      Well, does the 2008 policy?
11        Q      Yes.
12        A      My understanding is that it's related to
13   the funding.
14        Q      So if there's a decision about funding
15   with respect to the nature of the pregnancy, does
16   the nature of the pregnancy matter to you in terms
17   of your decision about whether to permit the
18   abortion or not?
19        A      Yeah.    All circumstances, the nature of
20   the pregnancy among them, matter.
21        Q      You also mentioned how far along she is.
22   Why does that matter in terms of your decision to
23   permit the abortion or not?
24        A      It's just some information that you
25   expect to be part of a like well-developed medical


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                                                                         Page 64
 1   record, and its absence would be puzzling.             I
 2   don't know that we really had to chase that
 3   information down, but it's -- it's possible that
 4   we may have, but in any case just to understand
 5   the totality of the circumstances.
 6        Q      Why is the sponsor relevant in your
 7   determination -- or the possibility of a sponsor
 8   relevant in your determination about a minor's
 9   request for abortion?
10        A      This is a person who is going to inherit
11   that, you know, care for that individual, and we
12   need to have some rudimentary understanding of --
13   not just rudimentary -- actually a detailed
14   understanding of what that individual is prepared
15   to take on, and also, also factors related to
16   whether the UAC is related to the sponsor or how
17   far along the sponsorship process is could affect
18   a determination about a pregnancy termination.
19        Q      Have you ever approved an abortion
20   request in your time as ORR director?
21        A      No.
22        Q      Are there any circumstances under which
23   you would approve an abortion request?
24                     MR. PHIPPS:      Objection.     Calls for
25        speculation.


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                                                                         Page 65
 1                      THE WITNESS:     Well, I was going to
 2        not answer that.
 3   BY MS. AMIRI:
 4        Q      Well, you can still answer it.
 5        A      I don't, I don't know.
 6        Q      Are there any -- let me back up.
 7               You have denied abortion requests,
 8   correct?
 9        A      Yes.
10        Q      You have denied abortion requests even
11   in the context where the pregnancy is as a result
12   of rape, right?
13        A      Yes.
14        Q      So it sounds like if the young woman has
15   been raped, that is not a determining factor about
16   whether you would allow the abortion, right?
17        A      It could be.
18        Q      But it hasn't yet?
19        A      No.
20        Q      You're personally opposed to abortion,
21   correct?
22        A      Yes.
23        Q      You've written on the subject?
24        A      Yes.
25        Q      You're personally opposed to


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                                                                         Page 66
 1   contraception, correct?
 2        A      Depends.
 3        Q      You wrote an article that said in order
 4   to be pro-life, you need to be anti-contraception?
 5        A      That was the title of the article,
 6   something along those lines.
 7        Q      Right.     So you have, have written on the
 8   subject?
 9        A      I have written on subjects related to
10   those things, yes.
11        Q      And you believe that unaccompanied
12   minors have no constitutional right to abortion?
13        A      That's legal speculation.
14                       MR. PHIPPS:    Objection.
15                       THE WITNESS:    I mean --
16   BY MS. AMIRI:
17        Q      You're an attorney.       I'm not asking you
18   for your, your legal understanding in like the
19   context of the defense of this proceeding.             I'm
20   asking you in terms of what you as the ORR
21   director believe.
22        A      Okay.     Then please restate the question.
23        Q      Do you believe that unaccompanied
24   immigrant minors maintain a constitutional right
25   to access abortion?


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       Case 3:16-cv-03539-LB Document 120-1 Filed 05/31/18 Page 172 of 173

                                                                        Page 181
 1
 2
 3
 4
 5                  ACKNOWLEDGEMENT OF WITNESS
 6                     I, Scott Lloyd, Esquire, do hereby
 7        acknowledge that I have read and examined the
 8        foregoing testimony, and the same is a true,
 9        correct and complete transcription of the
10        testimony given by me, and any corrections
11        appear on the attached Errata sheet signed by
12        me.
13
14
15   __________________ ______________________________
16   (DATE)                 (SIGNATURE)
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                                                                        Page 183
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 4
 5
 6   CERTIFICATE OF SHORTHAND REPORTER -- NOTARY PUBLIC
 7                  I, Laurie Donovan, Registered
          Professional Reporter, Certified Realtime
 8        Reporter, the officer before whom the
          foregoing deposition was taken, do hereby
 9        certify that the foregoing transcript is a
          true and correct record of the testimony
10        given; that said testimony was taken by me
          stenographically and thereafter reduced to
11        typewriting under my supervision; and that I
          am neither counsel for, related to, nor
12        employed by any of the parties to this case
          and have no interest, financial or otherwise,
13        in its outcome.
14                  IN WITNESS WHEREOF, I have hereunto
          set my hand and affixed my notarial seal this
15        2yth day of December, 2017.
16        My commission expires:         March 14th, 2021
17
18
19   _____________________________
20   LAURIE DONOVAN
     NOTARY PUBLIC IN AND FOR
21   THE DISTRICT OF COLUMBIA
22
23
24
25


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